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                                                                      N.D. OF ALABAMA




                EXHIBIT 1
                  Part 1 of 2
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JANUARY 26, 2023 REPORT
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Medical Properties (dis)Trust
Aggressive healthcare property roll -up caters almost exclusively to distressed tenants . Rent is round -
tripped via “fake” purchases of massively inflated assets. The fat lady is singing.

January 26, 2023 – Viceroy Research is short Medical Properties Trust (NASDAQ : MPW), a healthcare property
REIT who has engaged in billions of dollars of uncommercial transactions with its tenants and their management
teams in order to mask a pervasive revenue round-robin scheme and / or theft.

The value of MPW’s assets, as a result of capitalizing these uncommercial transactions, are massively overstated.
MPW employed an aggressive, debt-fuelled roll-up strategy in order to affect these transactions. We believe the
true value of MPW’s LTV is ~85%, creating enormous credit risk. We believe MPW will have no choice but to
significantly cut dividends.

Substantially all of MPW’s major tenants appear distressed. This precedes the need to engage in revenue round-
robin transactions. MPW is a subprime asset roll-up generating prime yields.

The Transactions
Broadly, we believe MPW engaged in 4 major types of uncommercial transactions with its clients. We believe
substantial portions of cash is round-tripped back to MPW. Some may overlap:

Sale-Leasebacks
Many MPW property acquisitions are on leaseback terms, where the vendor becomes the tenant of the
properties. MPW has engaged in billions of dollars of uncommercial sale-leaseback transactions

▪    MPW almost exclusively engages in these transactions with counterparties who are in financial ruin.
▪    Despite this, MPW appear to constantly overpay for fire sale assets, sometimes by as much as 10x, which
     in-turn allow debt-crippled tenants to meet their financial rent obligations as and when they fall due in the
     short term.

                      MPW loaned Steward $1.4b to purchase a Salt Lake City Hospital operator
                      IASIS and their portfolio of 19 hospitals. IASIS owned and operated 17
     Salt Lake City   hospitals.
                                                                                                         $750m -
       Portfolio
                                                                                                       overpayment
      Annexure 2      A $700m portion of this loan was immediately extinguished in exchange for 9
                      properties. The second $700m loan was secured against only a further 2,
                      leaving Steward with 7 properties courtesy of MPW at a value of $750m.

Cash-Giveaways
MPW engages in various transactions with a common cast of friends in which hundreds of millions of dollars go
missing. MPW has disappeared hundreds of millions of dollars in what appear to be fraudulent transactions.

▪    Underlying asset values are, also, fractions of the transaction values. Similarly: only fractions of the
     consideration are received by the vendors. In many instances, it appears that a middle-man is involved in
     brokering these transactions.

                      MPW invested $205m for a 49% stake in an unnamed JV with Steward & MPW
                      management. It paid $205m for 3 hospitals worth $27m in Malta formerly              $173m
    Malta Hospitals   operated by a group of businessmen under investigation for corruption.           overpayment
     Annexure 5
                                                                                                       $5m missing
                      Steward reaped a $173m windfall and the $5m difference between MPW’s
                      acquisition loan and the price paid to Steward remains unaccounted for.




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Bailouts
MPW engages in various in run-of-the-mill bailout transactions. MPW has spent hundreds of millions of dollars
bailing out distressed tenants.

▪      MPW will acquire equity in failing operators or issue them loans in order to mask uncollectable rent via
       round tripping revenues and, consequently, avoid impairment of their assets.

                         In 2019 MPW entered into a $113m promissory note with Prospect, payable in
         Prospect        August 2022 or the sale-leaseback of the properties.                                $113m
        Annexure 7                                                                                        unrecoverable
                         Rhode-Island regulators approved Prospect's MBO contingent on the removal
                         of the sale-leaseback option, effectively leaving MPW holding the bag.

Capex Assistance & Fake Builds
MPW appear to collude with tenants to establish “fake” projects in order to siphon money away from the
company. It is also frequently strong-armed by distressed tenants and regulators for financial assistance for
maintenance capex on triple-net leases.

▪      Various of MPW’s ongoing developments appear to be either non-existent or have not broken ground.
       Despite this, MPW claim to have spent tens of millions of dollars on each development. Site visits of barren
       construction sites and local news sources suggest this is a lie.
▪      MPW’s tenants are exclusively on triple-net leases, meaning they are on the hook for real estate taxes,
       insurance, and maintenance. Despite this, various filings and MPW’s financial accounts show substantial
       cash amounts being devoted to capex, including maintenance, of its distressed tenants.

                          MPW committed $169m to build a Steward facility which.

                          Wadley Regional Medical Center and MPW, in its Q3 2022 interim report, said
                          that it had already spent $58m on the development.
     Wadley Regional
     Medical Centre News stories, including a site visit in October 2022, show that the                   $58m - missing
      Annexure 1     development site does not appear to have broken ground, and does not even
                     have a site office.

                          Local news agencies captured video of the site, which shows a sprawling
                          bushland surrounded by temporary blue fencing.




                     Figure 1 – Screen Capture – KSLA News 12 site visit to Wadley Regional Medical Centre1

The above image is from a local news stie visit to Wadley Regional Medical Centre in October 2022. MPW claimed
to have outlaid $58m on this development, with over $100m in further commitments. The site did not even
appear to have an office.




1
    https://www.ksla.com/2022/10/20/construction-apparently-paused-texarkana-hospital/
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The Financials
It’s important to understand MPW’s financial gimmicks in order to properly evaluate the impact of MPW
misrepresentations. Viceroy’s analysis of MPW’s operational cash flows show that it consistently generates
enormous losses, cumulating to $1.9b since 2015.

 Medical Properties Trust -Viceroy Free Cash Flow                                                                            Cumulative
 $000's                                                              2015-2019          2020        2021      Q3 2022      2015-Q3 2022
 Normalized FFO - Management                                         2,019,387      831,212    1,035,920      829,487         4,716,006
 Reconcile to cash flow from operations
 Straight-line revenue & other                                        (387,895)    (226,906)   (288,717)     (214,435)        (1,117,953)
 Share based compensation                                               77,706       47,154      52,110        33,001            209,971
 Debt costs amortization                                                36,436       13,099      16,856        13,123             79,514
 Other                                                                 (45,622)     (64,144)    (17,632)      (26,666)          (154,063)
                                                                           -                                                         -
 Working capital                                                        77,107        17,221     13,119       (76,595)            30,852
                                                                           -                                                         -
 Cash flow from operations                                           1,777,119      617,636     811,656       557,915          3,764,326
 Capex & suspect round-tripping
 Equity investments/investments in unconsolidated JV's                (932,985)    (233,593)   (123,427)     (399,456)        (1,689,461)
 Other loans/investments in unconsolidated operating entities         (995,321)    (309,523)   (909,669)     (131,105)        (2,345,618)
 Capex-adjecent line items                                          (1,142,494)    (104,530)   (356,964)     (242,090)        (1,846,078)
 Proceeds from return of equity investment                                 -         69,224      65,546        14,295            149,065
 Viceroy Adjusted Free Cash Flow                                    (1,293,687)       39,213   (512,859)     (200,442)        (1,967,774)
                                                        Figure 2 – Viceroy Analysis

▪    MPW’s adoption of straight-line revenue model hides a pervasive rent-deferral program for distressed
     tenants. Viceroy do not believe straight-line rent is collectable. Straight-line revenues have increased from
     ~8% of total rent in 2015 to ~20% of total rent in 2021.
▪    Our research shows material portions of MPW’s billed rent is round tripped through uncommercial loans
     and equity investments2. Viceroy include these outflows in our FCF calculation as our research suggests they
     are instrumental to operations and to MPW receiving rent from distressed tenants.
▪    MPW’s tenants are exclusively on triple-net leases. Despite this, various filings and MPW’s financial accounts
     show substantial cash amounts being devoted to capex, including maintenance, of its properties. Viceroy
     included these outflows in our FCF calculation as our research show MPW is strongarmed into making
     absurd investments for distressed clients in order to receive rent.

A break-down of MPW’s cash flows shows that it has financed both a heavily loss-making operation and an
aggressive (and unsuccessful) roll-up strategy in a zero-rate environment with mountains of debt and dilutive
equity raises. The fat lady is singing.

 Medical Properties Trust -Viceroy Cash Flow Analysis                                                                        Cumulative
 $000's                                                              2015-2019          2020        2021      Q3 2022      2015-Q3 2022
 Viceroy Adjusted Free Cash Flow                                     (1,293,687)      39,213    (512,859)    (200,442)        (1,967,774)
 Remaining cash flows from investing activities                             -
 Acquisitions & other related investments**                         (10,216,349) (3,706,064) (4,317,143)     (441,682)      (18,681,238)
 Asset sale proceeds, net of costs                                    1,907,736      94,177     246,468     2,185,574         4,433,955
 Principal received on loans receivable, net of investment in loans   1,825,221   1,243,536   1,536,776      (127,405)        4,478,128
                                                                            -                                                       -
 Viceroy adjusted cash flows from investing activities               (6,483,392) (2,368,351) (2,533,899)    1,616,487        (9,769,155)
 Cash flows from financing activities
 Net proceeds / (repayment) of term debt & credit facilities          5,603,012    1,578,583   2,576,526     (933,661)        8,824,460
                                                                            -                                                       -
 Proceeds from sale of units, net of offering costs                   5,166,274     411,101    1,051,229          -           6,628,604
 Distributions paid                                                  (1,503,705)   (567,969)    (643,473)    (524,536)       (3,239,683)
 Other financing activities                                            (146,037)    (20,641)     (36,674)     (85,492)         (288,844)
                                                                                                                                    -
 Cash flow from financing activities                                 9,119,544     1,401,074   2,947,608    (1,543,689)      11,924,537
                                                         Figure 3– Viceroy Analysis



2 These are reflected in “Equity investments / investments in consolidated JVs” and in “Other loans/investments in unconsolidated

operating entities”
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The Valuation & Credit Risk
It is difficult to assign a valuation to MPW as we believe investors are working with misleading and incomplete
information. We believe MPW presents enormous short-term downside. Viceroy have nonetheless recreated
the copy-paste sell-side future FFO valuation model with some adjustments which we believe begin to illustrate
the value-destructive nature of MPW’s actions.

Viceroy’s adjusted FFO per share removes the impact of straight-line rent (which has historically equated to
~25% of FFO). It also attempts to remove the impact of MPW’s round-robin transactions (50% is generous3).

                                      Medical Properties Trust - Viceroy Valuation                     Notes

                                      Consensus 2023 FFO                               1.78
                                      Straight-line rent reduction                    (0.45)    25% off FFO
                                      Round Trip Estimate                             (0.89)    50% off FFO
                                      Viceroy Adjusted FFO                             0.45
                            Medical Properties Trust - Viceroy Valuation                  Valuation
                            Range                                        Multiple         ($/share)       Downside
                            Bullish                                         10.00              4.45             -67%
                            Mid                                              8.75              3.89             -71%
                            Bearish                                          7.50              3.34             -75%
                            Stock Price @ 24 Jan 2023                       13.48
                            Current Multiple on consuensus 2023 FFO          7.57
                                                       Figures 4 & 5 – Viceroy Analysis


                Around current forwards FFO multiples, we deduce a short-term downside of 67% - 75%.

This valuation does not consider that MPW is subject to immense credit risk. It has played an aggressive, debt-
fuelled roll-up strategy in a zero-interest bull-market. It has had the best economic conditions of all time to fester
into one the largest financial disasters to plague the USA – and indeed global – medical industry.

                      Medical Properties Trust - LTV Calc
                      $000's                                                Q3 2022       Adjustments          Viceroy LTV
                      Net debt
                      Debt                                            (9,476,144)                              (9,476,144)
                      Cash & equivalents                                 299,171                                  299,171
                      Accounts payable & accrued expenses               (569,017)                                (569,017)
                      Interest & rent receivables                        117,555                                  117,555
                      Deferred revenue                                   (18,569)                                 (18,569)
                      Obligations to tenants & other lease liabilities (146,438)                                 (146,438)
                      Net debt and obligations                        (9,793,442)                -             (9,793,442)
                      Assets
                      Net investment in real estate assets          14,264,905           (3,566,226)           10,698,679
                      Straight-line rent receivables                    710,082            (710,082)                  -
                      Investments in unconsolidated real estate operating
                                                                      2,850,071
                                                                          entities / JVs (2,850,071)                  -
                      Other loans                                       200,245                                   200,245
                      Other assets                                      601,387                                   601,387
                      Asset base                                    18,626,690           (7,126,379)           11,500,311
                      LTV                                                    52.58%                                85.16%
                                                      Figure 6 & 7 – Viceroy LTV Analysis


                                          Viceroy believe MPW’s` LTV is closer to 85%.
                                  This kneecaps MPW’s ability to continue paying dividends.


In December 2022, S&P placed MPW on downgrade watch. It already sits below investment grade at BB+ 4.


3 The quantum of round-robin transactions typically exceeds FFO. We believe a 50% haircut is generous.
4
    https://disclosure.spglobal.com/ratings/en/regulatory/article/-/view/type/HTML/id/2932303
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Attention: Whistleblowers

Viceroy encourage any parties with information pertaining to misconduct within Medical Properties Trust, its affiliates, or
any other entity to file a report with the appropriate regulatory body.

We also understand first-hand the retaliation whistleblowers sometimes face for championing these issues. Where possible,
Viceroy is happy act as intermediaries in providing information to regulators and reporting information in the public interest
in order to protect the identities of whistleblowers.

You can contact the Viceroy team via email on viceroy@viceroyresearch.com.

About Viceroy

Viceroy Research are an investigative financial research group. As global markets become increasingly opaque and complex
– and traditional gatekeepers and safeguards often compromised – investors and shareholders are at greater risk than ever
of being misled or uninformed by public companies and their promoters and sponsors. Our mission is to sift fact from fiction
and encourage greater management accountability through transparency in reporting and disclosure by public companies
and overall improve the quality of global capital markets.

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     1. Financial Analysis
It is contextually important that readers understand MPW’s financial accounting gimmicks and executive
incentives prior to diving into the weeds of the malfeasance. Acquiring terrible businesses, siphoning cash
through acquisitions, and bailing out failing tenants aligns with the financial goals of the board.

This section will highlight MPW’s operational cash shortfalls, revenue round-tripping, and accounting gimmicks.
It will also highlight how MPW actually “makes” money (spoiler: debt & unit offerings).

     1.1          FFO, AFFO
MPW uses Funds From Operations (FFO) as their main performance indicator. FFO (or a slightly Adjusted FFO) is
also utilized by most analysts covering MPW to derive valuations. Executives are compensated based on
normalized FFO and EBITDA.

Medical Proerties Trust - FFO Breakdown                                                                                                Cumulative
$000's                                                          2015-2018           2019        2020          2021       Q3 2022     2015-Q3 2022
Net income less participating share in earnings                 1,664,442    372,376         429,345      653,860      1,042,036        4,162,059
Depreciation & amortization                                       437,303    183,921         306,496      374,599        300,731        1,603,050
(Gain) / Loss on sale of real estate                             (797,259)   (41,560)          2,833      (52,471)      (536,788)      (1,425,245)
Real estate impairment charges                                     48,007     21,031          19,006          -              -             88,044
Funds from operations (FFO) - Management                        1,352,493    535,768         757,680      975,988        805,979        4,427,908
Write-off of straight-line rent & other*                           30,333     15,539          26,415        (2,271)      27,444            97,460
Debt refinancing & unutilized financing costs                      82,019      4,367          28,180        27,650      (12,563)          129,653
Release of income tax valuation allowance                          (8,361)       -               -             -            -              (8,361)
Non-real estate impairment charges                                  7,229        -               -             -            -               7,229
Tax rate & other changes                                              -          -             9,295        42,746         (825)           51,216
Non-cash fair value adjustments                                       -          -             9,642        (8,193)       9,452            10,901
Normalized FFO - Management                                     1,463,713    555,674         831,212     1,035,920      829,487         4,716,006
                                                Figure 8 – MPW Management FFO Calculations

FFO is a completely unsuitable metric without significant adjustments that can account for MPW’s enormous
revenue round tripping, distressed straight-lined rent, and suspected theft. Our calculations in [Figure XX] below
account for various cash outflows, including investment outflows, which we believe are necessary for MPW’s
operations.

Medical Properties Trust -Viceroy Free Cash Flow                                                                                      Cumulative
$000's                                                                2015-2019              2020          2021        Q3 2022      2015-Q3 2022
Normalized FFO - Management                                           2,019,387        831,212      1,035,920         829,487          4,716,006
Reconcile to cash flow from operations
Straight-line revenue & other                                          (387,895)       (226,906)       (288,717)      (214,435)       (1,117,953)
Share based compensation                                                 77,706          47,154          52,110         33,001           209,971
Debt costs amortization                                                  36,436          13,099          16,856         13,123            79,514
Other                                                                   (45,622)        (64,144)        (17,632)       (26,666)         (154,063)
                                                                            -                                                                -
Working capital                                                          77,107            17,221       13,119         (76,595)           30,852
                                                                            -                                                                -
Cash flow from operations                                             1,777,119        617,636         811,656        557,915          3,764,326
Capex & suspect round-tripping
Equity investments/investments in unconsolidated JV's                   (932,985)      (233,593)       (123,427)      (399,456)       (1,689,461)
Other loans/investments in unconsolidated operating entities            (995,321)      (309,523)       (909,669)      (131,105)       (2,345,618)
Capex-adjecent line items                                             (1,142,494)      (104,530)       (356,964)      (242,090)       (1,846,078)
Proceeds from return of equity investment                                    -           69,224          65,546         14,295           149,065
Viceroy Adjusted Free Cash Flow                                       (1,293,687)          39,213      (512,859)      (200,442)       (1,967,774)
                                                  Figure 9 – Viceroy Adjusted Free Cash Flows

Viceroy’s assessment is that MPW’s cumulative free cash flow since 2015 is negative $1.9b.

We believe MPW’s multi-billion dollar roll-up strategy has conclusively failed in generating any real cash-flows.
In fact, MPW appears to have burnt more money than ever in the last 3 years.




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     1.2         Straight-Line Rent – Suspect Uncollectible
MPW ‘s rent revenue is split into 2 balance sheet components:

1.   Rent billed – as in, of the recorded rent revenue, how much was remitted in cash or is currently receivable;
     and
2.   Straight-line rent - an additional amount of rent MPW should have collected per period if the entire payment
     stream of the rent contract was recognized evenly over the rental period (which it is not).




                              Figure 10 – MPW annual report extract of straight-line accounting policy

MPW’s adoption of straight-line revenue model for its tenants suggests that significant portions of rent has been
deferred, and will only be collectable in the future 5. Straight-line rent has rapidly increased as a percentage of
rent revenues since 2015.

Medical Proerties Trust - Straight Line Rent Analysis
$000's                                          2015          2016         2017      2018         2019         2020         2021     Q3 2022

Rent-billed                                 247,604        327,269    435,782     473,343     474,151      741,311       931,942     737,029
Straight-line rent                           23,375         41,067     65,468      74,741     110,456      158,881       241,433     146,114
Total rent revenues                         270,979        368,336    501,250     548,084     584,607      900,192     1,173,375     883,143

Straight-line as % of total revenues            8.6%         11.1%      13.1%       13.6%        18.9%        17.6%        20.6%        16.5%
                                              Figure 11 – Viceroy straight-line rent analysis

This report will show that substantially all MPW’s major tenants are in financial distress:

▪    Material portions of MPW’s rent-billed is round tripped through uncommercial loans and equity
     investments.
▪    Straight-line revenue appears to be utilized as a method of rent-deferral for distressed tenants, and is likely
     uncollectable.

While straight-lining of rents is normally a permitted accounting treatment, ASC 842 requires recognition on a
cash-basis when collectability is in question:




                                                        Figure 12 – Extract from ASC 8426

Viceroy Research believe that the straight-lining of rent hides the deteriorating underlying financial health of
MPW’s tenants. Executives are compensated based on normalized FFO, FFO and EBITDA, none of which back-
out straight-line rent.

We note that MPW has written off ~$100m in straight line rent since 2015.


5 There are instances where straight-line rent is required to price in minimum yearly rent increases. In MPW’s case, straight-line has rapidly

increased as a percentage of rent revenues billed since 2015.
6 https://viewpoint.pwc.com/dt/us/en/pwc/accounting_guides/leases/leases__4_US/chapter_8_other_topi_US/8_9_Lessor-operating-

leases_impact-of-collectibility_assessment-_added-November-2019_.html
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    1.3      Capex & suspect round-tripping
This report will highlight that MPW frequently engaged with its own tenants in various types of uncommercial
transactions which we believe constitute rent round-tripping. It will also highlight transactions where MPW
supports distressed clients on triple-net leases by providing significant support in the form of capex.

Viceroy’s adjusted free cash flows attempt to adjust for these transactions, however accounts are incredibly
opaque and the business is vast to reliably track all of these transactions.

MPW’s “growth strategy” and executive incentive schemes reward “Acquisitions”. The exact terms or
measurement of “Acquisitions” is undefined, however management has consistently scraped the bottom of the
barrel in its search for new properties and new tenants. All these transactions will look good on paper. All these
transactions will qualify executives for bonuses. Investors must look beneath the surface.

Broadly, we believe MPW engaged in 4 major types of uncommercial transactions with its clients. Some may
overlap:

Sale-Leasebacks
Many MPW property acquisitions are on leaseback terms, where the vendor becomes the tenant of the
properties. MPW almost exclusively engages in these transactions with counterparties who are in financial ruin.

Despite this, MPW appear to constantly overpay for fire sale assets, sometimes by as much as 10x, which in-turn
allow debt-crippled tenants to meet their financial rent obligations as and when they fall due in the short term.

MPW has engaged in billions of dollars of uncommercial sale-leaseback transactions.

Cash-Giveaways
If overpaying wasn’t enough MPW engages in various transactions with its tenants in which millions of dollars
are basically given to tenants. Underlying asset values are fractions of the transaction values, and only fractions
of the consideration is received by the vendors.

These transactions tend to be international, perhaps as a deterrent for analysts to investigate the matter further.
In any case, Viceroy believe they must be scrutinized by MPW’s auditors.

MPW has disappeared hundreds of millions of dollars in what appear to be round-trip transactions. We believe
substantial portions of cash is round-tripped back to MPW.

Bailouts
MPW engages in various in run-of-the mill bailout transactions, where it will acquire equity in failing operators
in order to mask uncollectable rent and, consequently, avoid impairment of their assets.

MPW has spent hundreds of millions of dollars bailing out distressed tenants.

Capex assistance & fake developments
MPW’s tenants are exclusively on triple-net leases, meaning they are on the hook for real estate taxes,
insurance, and maintenance. Despite this, various filings and MPW’s financial accounts show substantial cash
amounts being devoted to capex, including maintenance, of its properties.

In the instance of Pipeline Health, MPW has devoted tens of millions in capex to maintain and build new facilities
as part of Pipeline Health’s restructuring plan! MPW doubles down on losers.

Various of MPW’s ongoing developments appear to be either non-existent or have not broken ground. Despite
this, MPW claim to have spent tens of millions of dollars on each development. Site visits of barren construction
sites and local news sources suggest this is a lie.




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    1.5         Executive Compensation Incentives
Substantially all executive performance-based incentives are tied to FFO, FFO Growth, EBITDA, and
“Acquisitions”.




                                           Figure 13 – MPW 2022 Proxy Statement extract

This compensation structure has fostered and encouraged management’s trigger-happy acquisition spree and
does not disincentivize bad behavior. It’s important to note in analysis that executive incentives are aligned with
fraud, bailouts, and creative accounting.

    1.6         How Does MPW Make Money?
For a long time, the business of being an aggressive roll-up was substantially better than the business of being a
health facility landlord. MPW’s aggressive roll-up strategy in a strong bull-market has masked the
underperformance of its underlying business.

A break-down of MPW’s cash flows shows that it has financed both a heavily loss-making operation and an
aggressive (and unsuccessful) roll-up strategy in a zero-rate environment.

Medical Properties Trust -Viceroy Cash Flow Analysis                                                                        Cumulative
$000's                                                              2015-2019           2020        2021      Q3 2022     2015-Q3 2022
Viceroy Adjusted Free Cash Flow                                     (1,293,687)       39,213    (512,859)    (200,442)      (1,967,774)
Remaining cash flows from investing activities                             -
Acquisitions & other related investments**                         (10,216,349) (3,706,064) (4,317,143)      (441,682)     (18,681,238)
Asset sale proceeds, net of costs                                    1,907,736      94,177     246,468      2,185,574        4,433,955
Principal received on loans receivable, net of investment in loans   1,825,221   1,243,536   1,536,776       (127,405)       4,478,128
                                                                           -                                                       -
Viceroy adjusted cash flows from investing activities               (6,483,392) (2,368,351) (2,533,899)     1,616,487       (9,769,155)
Cash flows from financing activities
Net proceeds / (repayment) of term debt & credit facilities          5,603,012    1,578,583    2,576,526     (933,661)      8,824,460
                                                                           -                                                      -
Proceeds from sale of units, net of offering costs                   5,166,274     411,101     1,051,229          -         6,628,604
Distributions paid                                                  (1,503,705)   (567,969)     (643,473)    (524,536)     (3,239,683)
Other financing activities                                            (146,037)    (20,641)      (36,674)     (85,492)       (288,844)
                                                                                                                                  -
Cash flow from financing activities                                 9,119,544     1,401,074    2,947,608    (1,543,689)    11,924,537
                                                       Figure 14 – Viceroy Analysis




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    1.7      LTV Analysis
MPW’s Loan-To-Value ration (LTV) sits above 50% without any adjustments for:

     ▪    Pervasive overpayments of assets & real estate;
     ▪    Revenue round-tripping transactions; and
     ▪    Straight-line revenue deferrals provisions to distressed clients.

Viceroy’s analysis below attempts to account for MPW’s accounting gimmicks. We believe MPW’s real LTV is
closer to 85%.

                 Medical Properties Trust - LTV Calc
                 $000's                                              Q3 2022      Adjustments     Viceroy LTV
                 Net debt
                 Debt                                            (9,476,144)                      (9,476,144)
                 Cash & equivalents                                 299,171                          299,171
                 Accounts payable & accrued expenses               (569,017)                        (569,017)
                 Interest & rent receivables                        117,555                          117,555
                 Deferred revenue                                   (18,569)                         (18,569)
                 Obligations to tenants & other lease liabilities (146,438)                         (146,438)
                 Net debt and obligations                        (9,793,442)              -       (9,793,442)
                 Assets
                 Net investment in real estate assets          14,264,905           (3,566,226)   10,698,679
                 Straight-line rent receivables                    710,082            (710,082)          -
                 Investments in unconsolidated real estate operating
                                                                 2,850,071
                                                                     entities / JVs (2,850,071)          -
                 Other loans                                       200,245                           200,245
                 Other assets                                      601,387                           601,387
                 Asset base                                    18,626,690           (7,126,379)   11,500,311
                 LTV                                                  52.58%                          85.16%
                                         Figure 15 – Viceroy Analysis of MPW’s LTV

It is difficult to make an accurate calculation of MPW’s real LTV as financial accounts are opaque, transactions
are needlessly complex, and the scope of the business is vast. Viceroy believe MPW’s accounts should be subject
to greater scrutiny in order to provide investors will a real view of MPW’s underlying business and balance sheet.

We note the following in relation to Viceroy’s estimate LTV calculations above:

▪   Viceroy believe MPW’s net investment in real estate is overvalued by at least 25% ($3.6b). We note that
    our review of a handful of Steward transactions alone evidence over $1b of overpayments of real estate.
▪   Viceroy do not believe straight-line rent is collectible given the financial state of MPW’s tenants. A review
    of major tenants show substantially all of them appear to be distressed, and all appear to receive financial
    assistance from MPW in order to pay rent to MPW. This brings us to our final adjustment:
▪   Viceroy do not believe MPW’s financial investments in unconsolidated operators and in JVs are of any value.
    We believe these investments largely constitute round-tripping of revenues.



                                          Viceroy estimate MPW’s LTV is ~85%.




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    2. The Customers – A Summary
Viceroy conducted background due diligence on dozens of MPW transactions. Substantially all of them looked
uncommercial.

Several detailed case studies on various transactions are annexed to this report. Broadly, these case studies
comprise most of MPW’s major tenants, and are spread across various geographies. Viceroy have identified
many further suspicious transactions however we simply do not have the capacity to cover all of them.

A brief overview of each transaction and their relevant Annexure is below:



   Transaction &
     Annexure                                          Overview                                      Financial Impact
                     MPW committed $169m to build a Steward facility which.

                     Wadley Regional Medical Center and MPW, in its Q3 2022 interim report,
                     said that it had already spent $58m on the development.
  Wadley Regional
  Medical Centre     News stories, including a site visit in October 2022, show that the             $58m - missing
   Annexure 1        development site does not appear to have broken ground, and does not
                     even have a site office.

                     Local news agencies captured video of the site, which shows a sprawling
                     bushland surrounded by temporary blue fencing.



                     MPW loaned Steward $1.4b to purchase a Salt Lake City Hospital operator
    Salt Lake City   IASIS and their portfolio of 19 hospitals. IASIS owned and operated 17
                     hospitals.                                                                         $750m -
      Portfolio
                                                                                                      overpayment
     Annexure 2
                     A $700m portion of this loan was immediately extinguished in exchange for
                     9 properties. The second $700m loan was secured against only a further 2,
                     leaving Steward with 7 properties courtesy of MPW at a value of $750m.


                     In October 2016 MPW acquired 9 Massachusetts facilities from Steward: 5 of
                     them outright for 600m, 4 for 600m in mortgage loans and 50m in equity
                     contributions.

  Massachussetts     In Q2, Q3 and Q4 2018 MPW extinguished the mortgages on these 4
                                                                                                        $57.8m -
    Portfolio        facilities by taking ownership. Steward’s 2018 financials show additional
                                                                                                      overpayment
   Annexure 3        consideratio of $42.8m was made.

                     As part of the conversion there also appears to be a ping-pong exchange of
                     the St Joseph Medical Centre which MPW acquired in September 2017. In
                     March 2018 it sold the property to Steward for a $148m mortgage, only to
                     reacquire months later again in Q3 2018 for an extra $15m.




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    Transaction &
      Annexure                                            Overview                                         Financial Impact
                         On November 17, 2020, MPW claims to have purchased 3 Colombian
                         hospitals for $135m from local operator National Clinics Colombia an
                         unnamed JV.

                         Local filings suggest 2 of the 3 Colombian Hospital properties were sold
                         for only ~$36m, which still represents 2-3x what Steward paid for these
  Colombia Hospitals                                                                                           $60m
                         properties in preceding years.
      Annexure 4                                                                                            overpayment
                         We believe ~$60m of the $135m total consideration for 3 Colombian
                         hospitals is unaccounted for.

                         While originally presented as an "investment", this was actaially a
                         mortgage loan against the 3 properties.

                         MPW invested $205m for a 49% stake in an unnamed JV with Steward &
                         MPW management. It paid $205m for 3 hospitals worth $27m in Malta
                         formerly operated by a group of businessmen under investigation for
                                                                                                               $173m
   Malta Hospitals       corruption.
                                                                                                            overpayment
    Annexure 5
                                                                                                            $5m missing
                         Steward reaped a $173m windfall and the $5m difference between
                         MPW’s acquisition loan and the price paid to Steward remains
                         unaccounted for.

                         In its 2018 annual report MPW disclosed a 9.9% equity stake in Steward
                         valued at $150m, however as of its 2020 annual report MPW has declined
                         to disclose the value of its stake which remains at 9.9%. This stake appears
                         to be a result of the equity contributions from the Massachusetts and
                         IASIS transactions

                         MPW also made a $335m loan to Steward in January 2021 used to redeem
                                                                                                              $115m -
    Investment in        a similarly sized loan from Steward’s private equity sponsors, Cerberus .
                                                                                                           overvaluation
       Steward
                                                                                                           $44m - opaque
     Annexure 6          Cerberus had transferred its controlling stake to Steward management in
                                                                                                                loan
                         exchange for a convertible note of unspecified size. If this $335m was the
                         value of the 90% stake, then it values MPW’s 9.9% stake in Steward at
                         ~$36.85m.

                         In 2019 MPW disclosed a $44m promissory note from Steward but would
                         not reveal its size until its 2021 filings. The purpose of this note is not
                         stated by MPW.

                         In 2019 MPW entered into a $113m promissory note with Prospect,
                         payable in August 2022 or the sale-leaseback of the properties.
      Prospect                                                                                                $113m
     Annexure 7          Rhode-Island regulators approved Prospect's MBO contingent on the                 unrecoverable
                         removal of the sale-leaseback option, effectively leaving MPW holding the
                         bag.




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   Transaction &                                                                                                        Financial
     Annexure                                                   Overview                                                 Impact
                           MPW financed acquisition of Priory by Waterland Private Equity with a
                           £1,050m loan: £800m netted off against the purchase of 35 Priory properties
                           and £250m acquisition loan against the same properties.
                                                                                                                     ~$600m -
                           Priory's seller, Acadia's filings suggest that all 279 of Priory’s properties have
      Priory                                                                                                       overpayment
                           a combined market value of only £925 million.
    Annexure 8                                                                                                    $? - investment
                                                                                                                     in tenant
                           It seems MPW believed the 35 properties were worth £800m. It is absurd to
                           suggest that the remaining Priory business and a further 244 properties were
                           worth only £250m. For MPW’s financing to make any sense the entire Priory
                           business less property would be valued at close to zero.
                                                                                                                          $215m -
                          MPW acquired 6 facilities from Pipeline Health for $215m on leaseback terms.                  payment for
                          Despite this short term liquidity, Pipeline nonetheless filed for bankruptcy.                 hospital with
  Pipeline Health
                                                                                                                      bankrupt tenant
    Annexure 9
                          Bankruptcy filings show this requires MPW to sink $23.5m into new facilities &               $25m - capex
                          capex. Much of this appears to be offset from rent owed by Pipeline health,                  investment in
                          and will now form part of Lease Base calculations                                           bankrupt tenant


Also annexed to this report are several background checks on the remainder of MPWs largest tenants with whom
they do not conduct transactions with (or at least, none that we could easily identify within the swamp of MPW
transaction data).

   Steward Health Care Financials - Viceroy Analysis
                                                                   2017          2018          2019            2020
   Revenues                                                  3,705,641       626,189      6,727,521      5,413,904
   Gross profit                                               (321,597)     (269,186)       125,313       (439,161)
   Gross margin                                                   -8.7%        -43.0%           1.9%          -8.1%
   Net loss                                                   (207,181)     (279,547)        82,493       (407,593)
   Net margin                                                     -5.6%        -44.6%           1.2%          -7.5%

   Circle Health Holdings Financials - Viceroy Analysis
   (2020 & 2021 figures have removed BMI Healthcare)             2017          2018           2019           2020              2021
   Revenues                                                   100,882       100,728        102,894        121,147            96,526
   Gross profit                                                29,948        29,506         30,835        (66,013)         (119,593)
   Gross margin                                                   30%           29%            30%           -54%             -124%
   Net loss                                                    (6,155)      (11,934)       (20,833)        (6,505)          (39,376)
   Net margin                                                      -6%         -12%           -20%             -5%             -41%
   Free cash flow                                              (6,588)       (3,886)        (1,383)

   BMI Healthcare - Viceroy Analysis
                                                                 2017           2018          2019           2020             2021
   Revenues                                                   886,947      1,313,265       918,149        863,729          955,116
   Gross profit                                               323,622        456,819       357,747        278,397          325,715
   Gross margin                                                   36%            35%           39%            32%              34%
   Net loss                                                   (97,394)       (59,886)       14,326        (53,871)         (13,300)
   Net margin                                                    -11%             -5%           2%             -6%              -1%

   Prospect Medical Holdings Financials - Viceroy Analysis
                                                                  2017           2018           2019           2020
   Revenues                                                  2,538,695     2,766,929      2,487,156      2,733,388
   Gross profit                                                 72,220       (45,858)       206,445       (103,314)
   Gross margin                                                    2.8%         -1.7%           8.3%          -3.8%
   Net loss                                                     34,252      (244,165)      (137,718)       (99,610)
   Net margin                                                      1.3%         -8.8%          -5.5%          -3.6%

   Swiss Healthcare - Viceroy Analysis
                                                                  2017          2018          2019            2020            2021
   Revenues                                                   (109,154)       70,398        97,731         (10,525)        955,116
   Gross profit                                                (88,869)      (58,625)       17,134         (53,771)        325,715
   Gross margin                                                    81%          -83%           18%            511%             34%
   Net loss                                                        -             -             -             1,734         (13,300)
   Net margin                                                        0%            0%            0%           -16%              -1%




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        3. Key Takeaways, Valuation & Credit Risk
▪       MPW has engaged in billions of dollars of uncommercial transactions with its tenants and their management
        teams in order to mask a pervasive revenue round-robin scheme and / or theft.
▪       The value of MPW’s assets, as a result of capitalizing these uncommercial transactions, are massively
        overstated.
▪       MPW engaged in an aggressive, debt-fuelled roll-up strategy in order to affect these transactions. We
        believe the true value of MPW’s LTV is ~85%, creating enormous credit risk.
▪       Many of MPW’s tenants are severely distressed. This precedes the need to engage in revenue round-robin
        transactions.
▪       Financial accounting gimmicks ensure MPW’s management are incentivised to continue engaging in
        uncommercial transactions and possible fraud. These align with management incentive schemes.

        3.1       Valuation
In light of the above, it is incredibly difficult to assign a valuation to MPW as we believe investors are working
with false information. We believe MPW presents enormous short-term downside. It is also incredibly difficult
to for management to justify payment of dividends given its precarious financial position and incredible cash-
burning furnace.

Viceroy have nonetheless recreated the copy-paste sell-side future FFO valuation model with some adjustments
which we believe begin to illustrate the value-destructive nature of MPW’s actions. We reiterate that these
valuations are subject to management figures which we believe are incorrect and require audit scrutiny.

                                    Medical Properties Trust - Viceroy Valuation
                                    $000's                                                             Notes

                                    Consensus 2023 FFO                                 1.78
                                    Straight-line rent reduction                      (0.45)     25% off FFO
                                    Round Trip Estimate                               (0.89)     50% off FFO
                                    Viceroy Adjusted FFO                               0.45
                                         Figure 16 – Medical Properties Trust Viceroy Valuation

Viceroy’s adjusted FFO per share removes the impact of straight-line rent (which has historically equated to
~25% of FFO). It also attempts to remove the impact of MPW’s round-robin transactions (50% is generous to
MPW7).

                              Medical Properties Trust - Viceroy Valuation                Valuation
                              Range                                        Multiple        ($/share)     Downside
                              Bullish                                        10.00             4.45            -67%
                              Mid                                             8.75             3.89            -71%
                              Bearish                                         7.50             3.34            -75%
                              Stock Price @ 24 Jan 2023                      13.48
                              Current Multiple on consuensus 2023 FFO         7.57
                                         Figure 17 – Medical Properties Trust Viceroy Valuation

Around current forwards FFO multiples, we deduce a short-term downside of ~67% - 75%.

Viceroy will consider a review this price target after a thorough investigation of MPW’s dealings, specifically
surrounding the quantum uncommercial dealings.

It is important to note that this valuation does not consider that MPW is subject to immense credit risk. It has
played an aggressive, debt-fuelled roll-up strategy in a zero-interest bull-market. It has had the best economic
conditions of all time to fester into one the largest financial disasters to plague the USA – and indeed global –
medical industry.

Over the last 6 months, this environment has changed drastically. MPW is overburdened. The fat lady is about
to sing. Please take your seats.


7
    The quantum of round-robin transactions typically exceeds FFO. We believe a 50% haircut is generous.
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        3.2           Credit Risk
In December 2022, S&P placed MPW on downgrade watch. It already sits below investment grade at BB+ 8. S&P
notes MPW’s enormous exposure to Steward as the main reason for concern.




                                  Figure 18 – Medical Properties Trust Ratings Placed On Watch Negative

We believe S&P will be subject to downgrades following investigations into round-tripping transactions with
many of is tenants, and an investigation into their wellbeing. This will deteriorate MPW’s ability to obtain cheap
financing.

        Medical Proerties Trust - Debt Overview
        Issuer                                            ISIN   Maturity Date Security Type            Coupon Rate (%)   Currency    $000's **
        MPT Operating Partnership, L.P.         XS2390849318      15/10/2026 Corporate Debentures                0.993         EUR     543,478
        MPT Operating Partnership, L.P.         US55342UAH77      15/10/2027 Corporate Debentures                     5       USD    1,400,000
        MPT Operating Partnership, L.P.         XS2085724073       5/12/2023 Foreign Currency Debenture           2.55        GBP      494,945
        Medical Properties Trust, Inc.                             1/02/2024 Revolving Credit                 Variable        USD      920,245
        Medical Properties Trust, Inc.                             1/02/2026 Term Loans                       Variable        USD      200,000
        MPT Operating Partnership, L.P.        US55342UAM62       15/03/2031 Corporate Debentures                   3.5       USD    1,300,000
        MPT Operating Partnership, L.P.         XS1523028436      24/03/2025 Foreign Currency Debenture          3.325         EUR     543,478
        MPT Operating Partnership, L.P.         XS2322419776      24/03/2026 Foreign Currency Debenture             2.5       GBP      618,682
        MPT Operating Partnership, L.P.         XS2322420352      24/04/2030 Corporate Debentures                3.375        GBP      433,077
        MPT Operating Partnership, L.P.         XS2085724156       5/06/2028 Foreign Currency Debenture          3.692        GBP      742,418
        MPT Operating Partnership, L.P.         US55342UAG94       1/08/2026 Corporate Debentures                 5.25        USD      500,000
        MPT Operating Partnership, L.P.          US55342UAJ34      1/08/2029 Corporate Debentures                4.625        USD      900,000
        **Native currency

                                                     Figure 19 – MPW Outstanding Maturities9

We also note that, per Section XX of this report, we believe MPW’s LTV is closer to 85%. Even without
adjustments, MPW presents an LTV of ~53%. This is extremely high. Again, bondholders will be incredibly
displeased if MPW continues to pay dividends given these findings.

                Medical Proerties Trust - LTV Calc
                $000's                                                                     Q3 2022       Adjustments        Viceroy LTV
                Net debt
                Debt                                                                    (9,476,144)                         (9,476,144)
                Cash & equivalents                                                         299,171                             299,171
                Accounts payavle & accrued expenses                                       (569,017)                           (569,017)
                Interest & rent receivables                                                117,555                             117,555
                Deferred revenue                                                           (18,569)                            (18,569)
                Obligations to tenants & other lease liabilities                          (146,438)                           (146,438)
                Normalized FFO - Management                                             (9,793,442)               -         (9,793,442)
                Assets
                Net Investment in real estate assets                                    14,264,905         (3,566,226)     10,698,679
                Straight-line rent receivables                                             710,082           (710,082)            -
                Investments in unconsolidated real estate operating entities / JVs       2,850,071         (2,850,071)            -
                Other loans                                                                200,245                            200,245
                Other assets***                                                            601,387                            601,387
                Asset base                                                              18,626,690         (7,126,379)     11,500,311
                LTV                                                                          52.58%                             85.16%
                                                             Figure 20 – Viceroy Analysis

We believe MPW poses serious credit risks to its bondholders, who should scrutinize MPW’s various acquisitions
and ascertain true valuations for its property portfolio in order to properly account for:

▪       Pervasive overpayments of assets & real estate;
▪       Revenue round-tripping transactions; and
▪       Straight-line revenue deferrals provisions to distressed clients.

8 https://disclosure.spglobal.com/ratings/en/regulatory/article/-/view/type/HTML/id/2932303
9
    S&P Market Intelligence.
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Annexure 1 – Wadley Regional Medical Centre - Texas
MPW committed $169m to build a Steward facility which, according to MPW, commenced works in Q4 2021




                                           Figure 21 – MPW Q4 2021 announcement

Wadley Regional Medical Center and MPW, in its Q3 2022 interim report, said that it had already spent $58m
on the development.




                                    Figure 22 – MPW Q3 2022 Supplemental Information10

However, a news story from late October shows that the development site does not appear to have broken
ground and does not even have a site office.

Local news agencies captured video of the site, which shows a sprawling bushland surrounded by temporary
blue fencing.




                  Figure xx – Screen Capture – KSLA News 12 site visit to Wadley Regional Medical Centre11

The latest news was in January 2023 after Steward replaced its general contractor Hoar with Robins & Morton.
The completion date is now expected to be complete in late 2025, instead of its original date of Summer
202412,13,14.


                                           What has the $58m been spent on?




10 https://www.medicalpropertiestrust.com/supplementals-reports
11 https://www.ksla.com/2022/10/20/construction-apparently-paused-texarkana-hospital/
12 https://www.wadleyhealth.org/wadley-regional-northwest-texarkana
13 MPW Q3 2022 Earnings Call
14 https://www.1017hotfm.com/news/news-of-the-ark-la-tex/steward-health-care-robins-and-morton-sign-for-construction-of-wadley-

facility/
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Annexure 2 – Massachusetts
In October 2016 MPW acquired 9 Massachusetts facilities from Steward: 5 of them outright for 600m, 4 for
600m in mortgage loans and 50m in equity contributions.




                                                   Figure 23 – MPW 2017 Annual Report

Uncommercial fair value mark-ups
In Q2, Q3 and Q4 2018 MPW extinguished the mortgages on the 4 facilities by taking ownership, along with an
unnamed cash consideration15. Steward’s 2018 financials show this was $42.8m.




                             Figures 24 & 25 – MPW 2018 Annual Report & Steward 2018 Annual Report

Ping Pong St Joseph
As part of the conversion there also appears to be a ping-pong exchange of the St Joseph Medical Centre which
MPW acquired in September 2017. In March 2018 it sold the property to Steward for a $148m mortgage, only
to reacquire months later again in Q3 2018. We believe this was done intentionally to muddy the waters.




                                                   Figure 26 – MPW 2018 Annual Report

As part of the IASIS deal in September 2017 in which St Joseph’s was acquired, $15m of additional cash was paid
to Steward by MPW. This is recognized in Steward’s accounts as an “additional to the loan bases for the 2016
mortgages” and the $115m (not the previously stated $100m) in cash consideration of the IASIS merger.




                                               Figures 27 & 28 – MPW 2018 Annual Report

The St Joseph ping-pong transaction allowed MPW to funnel an extra $15m in cash to Steward hence the total
mortgage loan reduction of $764.4m: $600m for the 2016 mortgages, $148m for St Joseph’s and the leftover
$15m and change.



15
     $14.4m disclosed in Q2, the amount is unspecified in later disclosures
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Annexure 3 – Salt Lake City Portfolio
In 2017, MPW loaned Steward $1.4b to purchase a Salt Lake City Hospital operator IASIS and their portfolio of
19 hospitals. It also made a further $100m minority interest equity contribution in the transaction. IASIS owned
and operated 17 hospitals.




                                       Figure 29 – MPW 2017 Annual Report

A $700m portion of this loan was immediately extinguished in exchange for 9 properties.

The remaining $700m was a mortgage loan against 2 unnamed properties: Jordan Valley Medical Center and
Davis Hospital & Medical Center.




               Figures 30 & 31 – MPW 2020 Annual Report and Steward Health Care 2019 Annual Report

On July 8, 2020, MPW acquired the Jordan Valley Medical Center and Davis Hospital & Medical Center in
exchange for a total extinguishment of the loan and an additional $200m cash payment it labelled a fair value
increase.

Jordan Valley Medical Centre and Davis Hospital & Medical Centre were certainly not the largest hospitals in this
portfolio.




                                Figure 32 – Steward Health Care Annual Report 2018

The first $700m loan was exchanged for 9 properties, and the second $700m loan was secured against a further
2, but Iasis owned and operated 18 facilities in total at the time of acqusition. Steward basically received 7 of
them for free.


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                            Figures 33 & 34 – MPW Annual Report 2017 & Steward Annual Report 2017

On a back-envelope, per-beds basis, we estimate that the purchase price of Jordan Valley Medical Centre and
Davis Hospital & Medical Centre was ~$196m16. Given Steward is running its hospitals business to the ground,
we do not believe any fair value adjustment is warranted. We believe MPW must take a $700m write off on this
transaction alone representing the $950 mortgage and payment less a conservative $250m for the value of
Jordan Valley and Davis.

The pattern in the Masschusetts portfolio of increasing loans continued with the Salt Lake City portfolio with
Steward adding a further $27m in Q4 2018.




                                                Figure 35 – Steward 2018 Annual Report

The FTC has blocked Steward’s sale of operations in Utah to HCA Healthcare on the grounds of maintaining
competition in the area17.




16 Iasis PPE balance of $1.79b, portfolio beds of 3,581
17 https://www.ftc.gov/news-events/news/press-releases/2022/06/ftc-sues-block-merger-between-utah-healthcare-rivals-hca-healthcare-

steward-health-care-system
Viceroy Research Group                                           19                                        viceroyresearch.org
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Annexure 4 – Colombia
Colombia is a textbook example of MPW’s opacity in its dealings with Steward.

On November 17, 2020, MPW claims to have invested in 3 Colombian hospitals for $135m from local operator
National Clinics Colombia (NCC) through an unnamed JV18. The hospitals acquired were Clinica Centenario,
Clinica Los Nevados and Clinica San Rafael.

▪      In reality the JV Cordiant Health Care acquired the first 2 hospitals and the only the real estate to San Rafael,
       entering into a collaboration agreement with San Rafael19.



                                                   Figure 36 – MPW 2020 Annual Report

Local filings show Cordiant paid NCC COP134.93b ($39.45m) for NCC’s operations but notes that NCC did not
own the real estate to San Rafael. NCC had engaged in sale-and-leaseback transaction with GSRVC for its San
Rafael hospital for in 201620. The 2019 sale-leaseback liability on NCC’s book amounts to COP112b ($34.15m)
and the JV would have had to purchase this property separately.




    On July 30, 2020, the Share Purchase Agreement was signed between National Clinics Colombia S.A.S (NCC) as seller and Cordiant Health
    Services Colombia S.A.S as buyer; The transaction contemplates: (i) the sale of intangible assets owned by the company (right to appoint
    members of the Board of Directors of the Hospital Universitario Clínica San Rafael - HUSCR and assignment of the collaboration agreement
    between National Clinics Colombia and the Hospital Universitario Clínica San Rafael) for $123,438,780 and (ii) the sale by NCC of 100% of
    the Capital shares held in National Clinics Centenario S.A.S. and National Clinics Nevados S.A.S, for $11,498,586.
    Additionally, the properties where National Clinics Centenario, National Clinics Nevados and Hospital Universitario Clínica San Rafael
    operate were to be part of the transaction, even though NCC was not the owner of the properties. The sale of these properties was to
    be done simultaneously with the sale of NCC's assets.
                      Figure 37 & Tramslation– National Clinics Colombia Annual Report 2020 & Translation21

Local news reports show that one of the hospitals, Los Nevados, was severely damaged in an earthquake and
needed extensive repairs. The hospital appears to remain closed according to google reviews and local press and
Steward Colombia’s page on Los Nevados is “under construction” 22.

MPW’s $135m investment was actually a $135m mortgage loan on the properties 23. These details raise the
question: what was the $135m spent on? This transaction MUST be scrutinized by investors and regulators:

▪      NCC filings show its operations, and two Colombian hospital properties were sold for only ~$40m.
▪      We believe a sale of San Rafael for the remaining $95m is unlikely considering it would constitute a 2.8x in
       increase in value in 4 years during a weakening exchange rate.
▪      The ownership structure of the Colombian hospitals suggest it is owned and/or controlled by Steward
       and/or its executives, not by MPW.

We believe a write-off of ~$60m is required for this transaction alone ($135 less $40m for NCC and $35m from
San Rafael).


18 https://www.toprankedlegal.com/press-release/medical-properties-trust-and-steward-health-care-to-enter-into-the-colombian-health-

care-market-with-the-acquisition-of-clinics-operated-by-national-clinics/
19 https://www.beckershospitalreview.com/hospital-transactions-and-valuation/steward-acquires-3-hospitals-in-colombia.html
20 https://www.prnewswire.com/news-releases/rizk-ventures-announces-healthcare-real-estate-sale-leaseback-transaction-of-san-rafael-

hospital-in-bogota-colombia-300286010.html
21 Emphasis ours, all figures in 000’s Colombian pesos
22 https://forbes.co/2020/11/25/negocios/el-millonario-plan-de-steward-health-care-en-colombia-tras-la-compra-de-tres-hospitales/
23
   MPW 2020 Annual Report pg 116
Viceroy Research Group                                                 20                                            viceroyresearch.org
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Annexure 5 – Malta
In Q2 2020, MPW invested $205m for a 49% stake in an unnamed JV with Steward and MPW management,
paying $205m for assets worth $27m and funneling $173m of cash into Steward. The assets purchased were 3
hospitals in Malta formerly operated by a group of businessmen under investigation for corruption.




                                         Figure 38 – Steward Health Care 2020 Annual Report

MPW were vague about the deal and for good reason: the hospitals purchased in Malta were the Vitals Global
Healthcare group of hospitals in Malta purchased by Steward in 201724.

▪    Vitals sold their concession to Steward for a nominal €1 after paying out huge bonuses to executives and
     doing nothing to develop the hospitals, the entire premise of the concession 25. Former Vital’s CEO Armin
     Ernst was found to have worked at both Steward and Vitals at the time the sale was being negotiated 26 with
     Malta’s Health Minister Chris Fearne stating it was Ernst’s idea that Steward purchase the concession 27.
▪    Vitals had no experience in healthcare, but was awarded an €7b, 30-year concession to operate the Gozo,
     St Luke, and Karin Grech hospitals in 2015 before going bankrupt in 18 months after taking €51m of Maltese
     taxpayer’s money and €55m in debt.
▪    Steward International’s business development director, Asad Ali, was involved in the tender from the
     outset. Ali was a shareholder of Pivot Holdings signatory to the original MOU in October 2014. Former
     Maltese government officials are under investigation in the matter. Shaukat Ali Abdul Gafoor, a relation of
     Asad, has continued work on behalf of Steward and is also alleged to be another member of the Vitals
     organization.
▪    Steward has failed to meet its obligations and is now attempting to renegotiate with the Maltese
     government. Reporting shows the hospitals in an advanced state of disrepair with Steward claiming that
     until its agreements are renegotiated, no further works will be done 28,29.

A full summary of the Vitals saga is beyond the scope of this report. The Shift News has a complete summary of
the affair at the link below30.




                             Figure 39 – Medical Properties Trust, Inc. Reports Second Quarter Results

In summary, MPW paid $205m to a JV owned by MPW management, Steward Management and MPW. Of this,
$200m was paid to acquire Steward International with total assets of $27m, mostly 3 controversy-laden hospitals
in a politically charged setting. Steward reaped a $173m windfall and the $5m difference between MPW’s
acquisition loan and the price paid to Steward remains unaccounted for.


24 https://www.maltatoday.com.mt/news/national/83233/vitals_selling_malta_hospitals_concession_american_steward_healthcare#.YS3rAI4zaUk
25 https://www.maltatoday.com.mt/news/national/100594/vitals_global_healthcare_boss_ram_tumuluri_paid_himself_5_million_bonus#.YP5w_Y4zaUk
26 https://timesofmalta.com/articles/view/vitals-ceo-profile-says-he-worked-simultaneously-for-new-concession.666264
27 https://timesofmalta.com/articles/view/ex-vitals-ceo-is-now-president-of-steward.667175
28 https://theshiftnews.com/2022/07/04/in-pictures-the-hospitals-managed-by-steward-healthcare-from-bad-to-worse/
29 https://theshiftnews.com/2022/07/22/while-maltas-hospitals-deteriorate-steward-healthcare-insists-on-renegotiation-of-concession-

terms/
30
   https://theshiftnews.com/2019/10/24/the-big-pay-off-a-key-hidden-investor-in-vitals-global-healthcare/
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Annexure 6 – Investment in Steward
MPW has also directly invested in Steward.

In its 2018 annual report MPW disclosed a 9.9% equity stake in Steward valued at $150m, however as of its 2020
annual report MPW has declined to disclose the value of its stake which remains at 9.9%. This stake appears to
be a result of the equity contributions from the Massachusetts and IASIS transactions.




                                 Figures 40 & 41 – MPW 2018 & 2021 Annual Reports, respectively

MPW also made a $335m loan to Steward in January 2021 used to redeem a similarly sized loan from Steward’s
private equity sponsors, Cerberus31.




                                    Figure 42 – MPW 2021 Annual Financial Statement Extract

Cerberus had transferred its controlling stake to Steward management in exchange for a convertible note of
unspecified size32,33. If this $335m was the value of the 90% stake, then it values MPW’s 9.9% stake in Steward
at ~$36.85m.

In 2019 MPW disclosed a $44m promissory note from Steward but would not reveal its size until its 2021 filings.
The purpose of this note is not stated by MPW.



                                    Figure 43 – MPW 2019 Annual Financial Statement Extract




31 Q1 2022 Page 16
32 https://www.bizjournals.com/boston/news/2020/06/02/steward-buys-out-cerberus-capital.html
33
     https://www.wsj.com/articles/pe-backed-hospital-chain-got-help-from-major-landlord-as-losses-mounted-11624014000
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Annexure 7 – Prospect Transaction(s)
Prospect is a private-equity fueled roll-up of hospitals which engaged MPW for large-scale sale and leaseback
transaction. Management has recently been the subject of scrutiny for the state it has left Prospect prior to
engaging in a minority interest MBO.

This is because Prospect was borderline bankrupt and had landed itself in this position by selling off assets to
MPW and paying its shareholders enormous dividends with the proceeds.

Background
A Prospect investor consortium are proposing to sell their combined 66% stake to its remaining 34% owners,
Samuel Lee and David Topper, for $11.9 million. As this represents a change of control, Lee and Topper have to
seek approval from the various states where Prospect has hospital facilities. The last state where approval was
pending was Rhode Island, where the MBO faced concerted opposition.

This is because Prospect was borderline bankrupt and had landed itself in this position by selling off assets to
MPW and paying its shareholders enormous dividends at the expense of the state.




                                    Figure 44 – Statement from Rhode Island Attorney General34

There are a number of documents – particularly those relating to MPW’s transactions with Prospect in 2019 –
that were agreed by the State of Rhode Island Attorney General to be commercially confidential. These
documents have not been publicized. However, there is a

▪       a list of the confidential documents
▪       a list of questions asked by the RIAG following a review of the confidential documents; and
▪       a report by RIDH’s financial adviser PYA, who had access to the confidential documents




34
     https://riag.ri.gov/sites/g/files/xkgbur496/files/documents/Prospect_Chamber_Ivy_AG_HCA_Decision.pdf
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Leaseback Transaction
In August 2019, Prospect closed a $1.4b sale-leaseback transaction with MPW. As a result of the sale lease back
transaction, Prospect actually has higher expenses from rent versus its previous debt service, which crippled the
business35.




                                             Figure 45 – PYA Financial Analysis of Prospect

Substantial portions of the proceeds from this transaction were used to pay Prospect shareholders dividends.
Prospect’s leverage position. Leverage actually increased in the year of the transaction.

The Rhode Island Attorney General’s investigation of Prospect’s financials show clear signs of distress including
a negative equity value of >$1b, negative operating income and negative free cash flows (ex-sale of assets).




                                         Figure 46 – PYA Financial Analysis of Prospect36

MPW also held a promissory note for $113m secured against Prospect’s Rhode Island properties. The note’s
maturity was set for August 2022 or the sale-leaseback of the properties, effectively a delayed sale-leaseback
agreement.




                                   Figure 47 – Prospect Medical Holdings Annual Report 2019

We note that in its 2019 Annual Report Prospect Medical Holdings discloses a “current portion of MPT liabilities”
of $43m.

This seems to have backfired with Rhode Island regulators’ approval of Prospect’s MBO on the condition that
this $113m loan be extended by 5 years with the removal of the sale-and-leaseback option. This effectively
leaves MPW holding the bag as Prospect are prohibited from repaying the note the only way possible.




35 Prospect Financial Statements 2018/2019

https://pestakeholder.org/broken-promises-rhode-island-regulators-question-leonard-greens-investment-in-prospect-medical-
holdings/#_edn30
36
   https://riag.ri.gov/sites/g/files/xkgbur496/files/documents/Prospect_Chamber_Ivy_AG_HCA_Decision.pdf
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         Figure 48 – Attorney General imposes unprecedented conditions on hospital ownership change to ensure future
                                                       operations37

Crucially, there is conflicting information as to whether – even if all relevant conditions are met – the $113m
TRS note is actually secured against the relevant hospital properties.

Never one to let circumstances stop them throwing good money after bad, MPW made a $100m mortgage loan
to Prospect, secured against a California hospital, in Q2 2022 for unspecified reasons. We doubt the collectability
of this loan.




                                                    Figure 49 – MPW Q2 2022 10-Q




37
     https://riag.ri.gov/press-releases/attorney-general-imposes-unprecedented-conditions-hospital-ownership-change-ensure
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Future Prospects
Beyond its dire financial situation Prospect’s credit rating is in the toilet after a series of bond issuances that
prompted Moody’s to downgrade their credit rating to junk status in March 2019 citing poor liquidity outlook
and leverage levels38. The sale-and-leaseback agreement with MPW failed to materially change Moody’s view
on their “continuing operating challenges and lease-adjusted leverage”39.




          Figure 50 Moody's downgrades Prospect Medical Holdings, Inc.'s CFR to B3; outlook changed to negative

Since the hospital company was reporting operating losses even with lower debt servicing, the new arrangement
will push the losses wider and likely require restructuring of the expense base.

Prospect’s poor financial...prospects… are also reflected in regular media coverage of its facilities; ProPublica
has penned several articles detailing the decline of its hospitals including operational, hygiene and staffing
failures40,41.

In this event: a round-tripping transaction appears to have actually worsened the financial wellbeing of an MPW
client, despite providing short-term liquidity




38 https://www.moodys.com/research/Moodys-downgrades-Prospect-Medical-Holdings-Incs-CFR-to-B3-outlook--PR_397518
39 https://www.moodys.com/research/Moodys-Prospect-Medicals-sale-leaseback-improves-liquidity-however-operating-challenges--

PR_405116
40 https://www.propublica.org/article/investors-extracted-400-million-from-a-hospital-chain-that-sometimes-couldnt-pay-for-medical-

supplies-or-gas-for-ambulances
41
   https://www.propublica.org/article/a-hospital-chain-said-our-article-was-inaccurate-its-not
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Annexure 8 – Priory Transaction
In December 2020 owners of Median Kliniken, Waterland Private Equity, acquired UK-based Priory Group from
Acadia Healthcare for £1,078m42. Both Median Kliniken & Priory were MPW hospital operators, so the
transaction consolidated MPW’s 4th and 5th largest tenants by lease assets at the time.

Acadia purchased this business for £1.3b in 2016 and put it back on the market just 2 years later.

MPW financed Waterland’s entire transaction with a £1,050m loan: £800m mortgage loan against 35 properties
from Priory, and a further £250m acquisition loan secured against the same properties. The mortgage loan would
be converted into ownership of those properties in June 2021. MPW received a 9.9% stake in Waterland’s Priory
fund for an additional “nominal amount”.




                                        Figures 51 & 52 – MPW Q1 2021 results and 10-Q43

MPW claimed that this £1,050m loan was collectively secured against a subset of Priory’s properties.

However Acadia’s 2020 10-K shows the Priory business consisted of “345 inpatient behavioral health facilities
with approximately 8,200 beds” of which 279 were owned and 66 leased. The PPE assets for the sale were valued
at $1.298m (£949m) at the lesser of carrying value and fair value less costs to sell.




It seems MPW believed the 35 properties were worth £800m. It is absurd to suggest that the remaining Priory
business and a further 244 properties were worth only £250m. For MPW’s financing to make any sense the
entire Priory business less property would be valued close to zero.

A back-of-envelope calculation assuming homogenous property values across the portfolio suggests an
overpayment of at least £600m.




42 https://www.ft.com/content/6058bdd8-3ff2-4f54-93c6-5911c1ec29d5
43
     https://www.businesswire.com/news/home/20210429005594/en/Medical-Properties-Trust-Inc.-Reports-First-Quarter-Results
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                            Priory Transaction Analysis - Viceroy Research

                            Acadia PPE value                                     £m                 949
                            Total number of properties                           #                  279
                            Avg property value                                   £m                 3.40

                            MPW mortgage loan                                    £m                 800
                            Security assets converted                            #                   35
                            Total value of security assets                       £m                 119

                            Overpayment                                          £m                 681
                                                Figure 53 – Priory Transaction Analysis

MPW has absolutely no concern for high-risk investments, and casually engages in quasi-unsecured lending of
hundreds of millions of dollars for the purchase of firesale assets.

High leverage put on by its PE sponsor contribute to Priory’s weak financial position. According to the Financial
Times, Priory’s new annual rent cost would be around ~£50m.




                  Figure 54 – Priory property deal saddles mental health chain with high rents – Financial Times44

Priory has also had a number of operational issues/negligence at its hospitals 45,46,47

Annexure 9 – Pipeline Health
On July 6, 2021, MPW acquired 4 hospitals and 2 on-campus medical office buildings from Pipeline Health for
$215m. These were leased back to Pipeline Health System.




Pipeline Health was a forced seller in this scenario due to a liquidity crisis. It nonetheless filed for bankruptcy in
October 2022:




44 https://www.ft.com/content/56c04cd9-80ec-4ddb-9165-e8e634a7ce99
45 https://www.bbc.com/news/uk-england-nottinghamshire-63415407
46 https://www.laingbuissonnews.com/healthcare-markets-content/priory-group-hospital-ratings-suspended-over-fresh-safety-concerns/
47
     https://www.nelsonslaw.co.uk/priory-hospital-arnold/
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                                     Figure 55 – Pipeline Health Bankruptcy Documents48

On January 13, 2022, MPW announced that Pipeline Health would reassume the master lease terms of the Los
Angeles hospitals. It caveats this announcement by stating 30% of 2023 rent would be “deferred” (or, straight-
lined), and MPW will invest in more facilities for Pipeline Health49.




                            Figure 56 – Extract from MPW market announcement 13 January 2023

Viceroy have pulled the amended restructuring plans from the same date of this announcement. MPW must
sink $23.5m into new facilities and into standard repairs and maintenance as part of the settlement terms. Much
of this appears to be offset from rent owed by Pipeline health, and will now form part of Lease Base calculations.




48 https://document.epiq11.com/document/getdocumentbycode?docId=4110689&projectCode=PIH&source=DM
49
     https://www.businesswire.com/news/home/20230113005440/en/
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                      Figure 57 – Pipeline Health Bankruptcy Filings - final restructuring proposal

We reiterate that MPW tenants are on triple-net leases. Clearly, this is not actually the case. MPW has not
recognized a write-down on the Pipeline assets to date, but it is unfathomable that MPW continue to engage in
high-risk transactions with bankrupt entities which are, in no uncertain terms, still distressed. This transaction
must be scrutinized.




                                   Figure 58 – MPW Pipeline Health announcement




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Annexure 10 – Steward – Financial Health
Steward is MPW’s largest customer by assets and revenue. Steward was formed in November 2010 when
Cerberus Capital acquired the Charitas Christi system50 before expanding aggressively, but ultimately not
profitably. MPW came to the rescue in 2016 through a sale-and-leaseback arrangement, whereby MPW would
acquire Steward’s facilities and lease them right back to Steward.

Steward resumed its aggressive acquisition strategy and continued to engage MPW for sale-leaseback
transactions. This made Steward the largest private hospital operator in the United States by revenue and
number of hospitals.

Steward’s failure to achieve profitability despite scale has led to a mutually parasitic relationship with MPW.

Massachusetts State Reports
The Massachusetts Center for Health Information and Analysis (CHIAMass) publishes annual reports on financial
and operating statistics for each hospital in the state including Steward Health System 51. Steward even sued the
state in 2017 to prevent filing financial information 52, all reports after 2018 by CHIAMass rely on publicly
available financials.

The result of these reports: Steward at the bottom of the ladder in almost every financial metric amongst
hospitals in the state reporting ($271m) in losses, negative margins and ($1.2b) in negative equity53. Most other
hospitals in the state reported positive financial indicators.




                                                    Figure 59 – CHIAMass extract

MPW also filed Steward’s 2020 financials as part of a significant tenant disclosure. Steward’s positive
performance in 2019 did not carry over to 2020 with losses widening to ($407m). MPW has not filed Steward’s
financials for 2021.

                       Steward Health Care Financials - Viceroy Analysis
                                                         2017              2018          2019            2020
                       Revenues              $    3,705,641 $          626,189 $    6,727,521 $     5,413,904
                       Gross profit          $     (321,597) $        (269,186) $     125,313 $      (439,161)
                       Gross margin                      -8.7%           -43.0%           1.9%           -8.1%
                       Net loss              $     (207,181) $        (279,547) $      82,493 $      (407,593)
                       Net margin                        -5.6%           -44.6%           1.2%           -7.5%
                                   Figure 60 – Steward Health Care Financials – Viceroy Analysis


50 http://archive.boston.com/business/healthcare/articles/2010/11/28/caritass_owner_has_a_history_of_quiet_buyouts_that_pay_off/
51 https://www.chiamass.gov/hospital-financial-trend-analysis
52 https://www.beckershospitalreview.com/finance/steward-health-care-sues-massachusetts-to-avoid-financial-disclosures.html
53
     https://www.healthcarefinancenews.com/news/losses-mount-steward-health-care-as-concern-over-its-future-grows
Viceroy Research Group                                            31                                         viceroyresearch.org
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Odessa Hospital
Steward Healthcare and its local Odessa operating subsidiary are currently being sued for non-payment of
wages:




                                 Figure 61 – Extract from Cause No. DC-22-17919

This demonstrates one of many distressed Steward facilities in MPW’s rent-roll:




                      Figure XX – MPW Property Map identifying Steward facility in Odessa, TX




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Annexure 11 – Circle Health Holdings – Financial Health
Circle was the company behind the first privately run hospital in the UK but fell afoul of regulators for poor
standards of care and practice. Since being taken private by Toscafund in 2017, Circle has not reported a single
year of profitability or free cash flow.

UK based Circle Health Holdings acquired competitor BMI Healthcare’s operations in December 2019. MPW
acquired BMI’s properties for £1.5b in the same transaction and leased them back to Circle.

Circle Health Holdings Financials - Viceroy Analysis
(2020 & 2021 figures have removed BMI Healthcare)                2017           2018            2019       2020         2021
Revenues                                                      100,882        100,728         102,894    121,147       96,526
Gross profit                                                   29,948         29,506          30,835    (66,013)    (119,593)
Gross margin                                                      30%            29%             30%       -54%        -124%
Net loss                                                       (6,155)       (11,934)        (20,833)    (6,505)     (39,376)
Net margin                                                         -6%          -12%            -20%         -5%        -41%
                                    Figure 62 – Circle Health Holdings Financials – Viceroy Analysis

BMI, now the largest component of Circle, has a similar history of loss-making operations.

BMI Healthcare - Viceroy Analysis
                                                                 2017            2018           2019       2020        2021
Revenues                                                      886,947       1,313,265        918,149    863,729     955,116
Gross profit                                                  323,622         456,819        357,747    278,397     325,715
Gross margin                                                      36%             35%            39%        32%         34%
Net loss                                                      (97,394)        (59,886)        14,326    (53,871)    (13,300)
                                       Figure 63 – BMI Healthcare Financials – Viceroy Analysis




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MPW Case Study – Neuropsychiatric Hospitals
MPW pay a 200% premium for newly built Neuropsychiatric Hospital. Loss-making tenant
consistent with revenue round-tripping model.

PLEASE READ IMPORTANT DISCLAIMER – PAGE 4

February 1, 2023 – In October 2019 MPW committed $27.5m to develop a NeuroPsychiatric Hospital for the
development of a 92-bed facility in Clear Lake, Texas. The facility was estimated to open in Q3 2020.




                                                 Figure 1 – Q3 2019 earnings call

MPW’s Q3 2020 supplemental information report also shows cash costs incurred on the still incomplete project
as of reporting date.




                                       Figure 2 – Q3 2020 supplemental information report

In MPW’s 2021 10-K, we learn that the project “commenced rent” on December 18, 2020. A subsequent 8-K
filed in October 27, 2022, we learn that the committed investment amount increased to $28.5m.

The Real Construction Costs & Property Appraisal
Project details of the Neuropsychiatric Hospital were submitted to the Texas Department of Licensing and
Regulation, which show estimated project costs to be $7.00m.




                                                  Figure 3 – Extract from TDLR1



1
    https://www.tdlr.texas.gov/TABS/Search/Project/TABS2019016744
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Further, Harris County appraisal district ownership history shows that MPT bought the site from Medistar on
October 25, 2019 when the appraised valued was listed as $2.1m. Post completion of the development, it was
appraised at $8.8m.




                                        Figure 4 – HCAD Ownership History extract2




                                         Figure 5 – HCAD Appraised Value extract3


It is completely unfathomable that MPW claims to have spent $28.5m on the development of the
Neuropsychiatric Hospital given that the cost of development and market value of the land was combined total
of $9.1m.

Further, we question how MPW has accounted for the value of this facility in its books, given that its appraised
value is 72% less than the capitalized cost of the facility.


                   MPW has paid over 3x the market value for the Neuropsychiatric Hospital.


Obscure Structure & Distressed Tenant
Neuropsychiatric Hospitals is the tenant of the Texas Clear Lake facility, however it does not lease the facility
from MPW, but from Medistar Corporation.

Medistar were the original owners of the site, conceived the plan for its development into a 92 bed facility, and
lodged the project details with the Texas Department of Licensing and Regulation, per Figure 3 above.

Medistar appear to have sold the site prior to development to MPW on leaseback terms. Medistar subsequently
leases the site to Neuropsychiatric Hospitals. This is disclosed in a joint press release by Neuropsychiatric
Hospitals and Medistar in December 2019, after MPW’s acquisition of the site in October 2019.




                                   Figure 6 – NPH & Medistar press release 30 Dec 20194




2https://public.hcad.org/records/Ownership.asp?crypt=%94%9A%B0%94%BFg%84%96%85%7Dhf%8El%87tXtYW%9E%99%A2%D3%89%9

5%C2e%7CU%8A%85
3https://public.hcad.org/records/HistoryValue.asp?crypt=%94%9A%B0%94%BFg%84%96%85%7Dhf%8El%87tXtYW%8D%AD%9C%CC%89

%A2%C4%9C%AB%9D%D2%B1%C1%CF%87hy%7B%60
4 https://www.neuropsychiatrichospitals.net/medistar-corporation-and-neuropsychiatric-hospitals-announce-the-development-of-

medical-behavioral-hospital-of-clear-lake-in-houston-tx/
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Viceroy have obtained 2021 financial data for the underlying tenant, Medical Behavioral Hospital of Clear Lake.
It shows a severely loss-making operator burdened by debt.




                    Figure 7 – 2021 Financial Summary of Medical Behavioral Hospital of Clear Lake



              Medical Behavioral Hospital of Clear Lake reported a $8.5m operating loss in 2021.
                                  Its liabilities exceed assets by over $2m.



Key Takeaways
We reiterate our belief that MPW engages in pervasive revenue round-tripping schemes. It is clear that MPW
vastly overpaid for this facility, with appraisals and state filings directly contradicting statements from MPW.

The tenant, Medistar Corporation, is subletting this property to a distressed client. We believe this is consistent
with round-tripping behavior.

MPW overpaid for the Neuropsychiatric Hospital facility by 3x. It capitalizes these absurd overpayments, and
proceeds to borrow more money to make more uncommercial investments.


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FEBRUARY 6, 2023 REPORT
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MPW Fun Facts – Puts & Mortgages
SEC enquiries show MPW mortgages to Steward exceed values of the properties Steward buy.

PLEASE READ IMPORTANT DISCLAIMER – PAGE 2

February 6, 2023 – As Viceroy prepare an extended case study highlighting MPW exposure to international
criminal inquiries, we present readers with a fun throwback to 2018, when the SEC questioned MPW’s
uncommercial transactions.

A link to the correspondence is below:

https://www.sec.gov/Archives/edgar/data/1287865/000119312518271134/filename1.htm

The background to the SEC’s questions related to MPW’s determination that it was unnecessary to disclose
Steward Healthcare’s financials as an exhibit to its 10-K, which is broadly consistent with Steward and MPW’s
minimal-transparency policy.

Of interest, the SEC’s examination of MPW’s 10-K exhibits showed that:

    1.    MPW provided Steward with a mortgage and/or loan to purchase properties
    2.    The value of the loan exceeded the value of the properties by 10%.
    3.    Under the terms of the loan agreement, MPW has an option to buy the property from Steward at 110%
          of its fair market value.




                       Figure 1 – Extract from MPW / SEC correspondence, September 11, 2018.

Already, it is absolutely astounding that MPW would make such blatantly uncommercial deals with Steward
when it could outrightly buy the hospital itself, and not pay a 10% premium to its tenant middle-man.

In response to the SEC’s question on how MPW considered the terms of the loan, MPW spectacularly state that
this option is put in place in order for Steward to avoid paying capital gains tax on the transfer of the property
that it would acquire in the following year (it was the IASIS transaction, covered in our report).

In other words, MPW answered why they gave Steward a 10% premium structured as mortgage, rather than
just paying them cash.




                       Figure 2 – Extract from MPW / SEC correspondence, September 11, 2018.

It has structured multiple transactions with Steward in this way.

This query from the SEC confirms half of our IASIS analysis in our original report. In total, we estimate that MPW
round tripped over $700m to Steward as part of this transaction.

Our reports can be found here:

https://viceroyresearch.org/medical-properties-trust-research/




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MPW Case Study – Springstone Texas
MPW commit $35 million to complete a $17 million build in McKinney Texas following sale-
leaseback transaction with Springstone (49% owned by MPW).

PLEASE READ IMPORTANT DISCLAIMER – PAGE 4

February 7, 2023 – In Q2 2022, MPW committed $34.6m in funding for a new facility in McKinney, Texas, which
would be leased to Springstone LLC. MPW did not disclose that the site was also purchased from Springstone,
who already lease 18 facilities from MPW.




                                           Figure 1 – Extract from MPW Q3 2022 10-Q

At Q3 2022, MPW had outlaid $1.14m on the project, with an estimated “rent commencement date” of Q1 2024.




                                       Figure 2 – Q3 2020 supplemental information report

The Real Construction Costs & Property Appraisal
Project details of the Springstone facility were submitted to the Texas Department of Licensing and Regulation,
which show estimated project costs to be $17.5m.




                                                  Figure 3 – Extract from TDLR1

It is unfathomable that MPW has committed $34.6m on the development of the Springstone facility given the
estimated cost of development and market value of the development was only $17.5m as of July 2022.


                     MPW will pay over 2x the development cost of a new facility in McKinney.
           Investors & creditors should demand an independent investigation into management conduct.




1
    https://www.tdlr.texas.gov/TABS/Search/Project/TABS2022008780
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Who did MPW purchase the property from?
A title search on the McKinney plot shows that MPW purchased the facility from Carrolton Springs, a Springstone
subsidiary. It will be leased back to Springstone. This does not appear to have been disclosed.

The sale for $2.95m took place in October 2021, more than 6 months before the deal was announced and is not
included in MPW’s “costs incurred” figures2, nor does it appear to form part of MPW’s capex commitment. It is
astounding that MPW would acquire an empty lot from a tenant.




                                       Figure 4 – Extract Collins County Appraisal District3

MPW’s website facility search shows that Springstone is a tenant at 18 existing MPW properties.




                                          Figure 5 – Sample extract from MPW website



              The cherry on top: MPW owns 49% of Springstone. It appears MPW is round tripping cash
                                   even between their own off-balance sheet JVs.




                                   Figure 6 – MPW Q3 2021 conference call - Steven Hamner

We believe this outrageous overspend aligns with MPW’s pervasive revenue round-tripping model. The facts
simply do not add up.




2 https://www.collincad.org/propertysearch?prop=2784249&year=2023#valuetable
3
    https://www.collincad.org/propertysearch?prop=2784249&year=2023
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Key Takeaways
We reiterate our belief that MPW engages in pervasive revenue round-tripping schemes. It is clear that MPW
intends to vastly overpaid for this facility, with appraisals and state filings directly contradicting statements from
MPW.

The tenant, Springstone, rents 18 other properties from MPW. We believe this overpayment is consistent with
round-tripping behavior in order to assist Springstone in meeting its payment obligations to MPW.

When MPW overpay for this facility by 2x, it will capitalize these absurd overpayments, and proceeds to borrow
more money to make more uncommercial investments.


               Viceroy’s full investigation of MPW’s multiple transactions with Springstone and its
                                       management team will follow shortly.




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MPW Case Study – Steward International
Viceroy detail structure of MPW’s JV with Ralph De La Torre including fake transactions,
backdated statements, outright lies, and MPW implications in criminal probe.

PLEASE READ IMPORTANT DISCLAIMER – PAGE 3

February 8, 2023 – MPW’s joint venture with Steward CEO, Ralph De La Torre, has been the subject of intense
curiosity by MPW bulls and bears alike. Today, Viceroy Research will detail the JV’s structure, the ownership of
Steward Malta, and egregious, and likely criminal, payments made between MPW, Steward Systems, the JV, and
various international entities.
▪   Assets purchased by the JV were never transferred to the JV. There appears to have been no AML or KYC
    checks.
▪   The assets that the JV purportedly bought from Steward for $200m were valued at $27m.
▪   MPW & Steward uniformly deny they are related to “independent” Steward International and Steward
    Malta. Viceroy’s investigation shows that Steward Malta’s UBO is based in Steward’s HQ, and that MPW
    appear to own 49% of Steward Malta. MPW actively lies to investors.
▪   Steward Malta, its staff, and its concession are the subject of broad international criminal inquiries.

The JV
MPW closed a $205m investment for 49% of a JV with Steward founder, Ralph De La Torre (“the JV”).

▪   This JV transaction is reported in more detail in the 2020 Steward Health Care System’s (“Steward Systems”)
    financial statements. Steward claims that it divested Steward Health Care International Holdings Ltd
    (“Steward International”), a UK entity, to a joint venture controlled by Steward’s “management equity
    holders” and MPW for $200m.
    -    Total assets sold by system amounted to $27m. MPW appears to have overpaid by 640%.
▪   Filings of Steward International show that it was never transferred to the JV. Steward International was
    100% owned by Steward Systems until its strike off in February 2022.
▪   At the date of the JV transaction, Steward International owned Steward Malta, who bears the controversial
    Malta concession.
    -    Steward Malta lodged a 1-year backdated letter correcting a further 6-month backdated filing. It
         retrospectively stated that Steward Malta had been sold to Steward Spain, the “new and independent”
         Steward International.

Who Owns Malta?
MPW, Steward Systems uniformly deny that they have any commercial or legal relationship with Steward Malta,
even via the JV. Viceroy’s research suggests this is a lie.

▪   Dozens of filings pulled from Spanish business registries show that Steward Spain (the immediate parent of
    Steward Malta) is owned by a Delaware company called Manolete Health Management LLC.
    -    A similarly named entity, Manolete Health Limited, was incorporated and immediately dissolved by
         Ralph De La Torre in the UK
    -    It appears that Manolete Health Management LLC exists in a group of Delaware companies created one
         month before the JV transaction.
▪   MPW also has a subsidiary titled “Manolete”, also in Delaware, and created only days before the date of
    the JV transaction. It appears that this MPW subsidiary holds the 49% JV interest, including in Steward
    Malta.
▪   The UBO of Steward Spain, Steward Health Care International Investors LLC (“Steward Investors”), appears
    to hold the remaining 51% JV interest.
    -    Steward Investors shares headquarters and staff with Steward Systems.

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MPW’s JV Structure




                                       Figure 1 – Viceroy Analysis - estimates

Who Wants Malta?
Put simply, Steward purchased a Maltese hospital concession obtained through corruption while retaining the
key actors in that corruption. Viceroy will show in this section how the same individuals that brokered the Vitals
deal came to work for Steward in their international campaign.

▪   Steward purchased the Maltese hospital concession knowing it was connected to corrupt practices.
▪   Vitals had no reliable accounting records to speak of.
▪   The individuals behind those corrupt practices would remain involved with Steward, either directly in Ernst’s
    and Asad Ali’s case or indirectly with Shaukat Ali cheerleading projects in eastern Europe.
▪   Vitals was systematically looted by its shareholders and had no intention or capability of ever fulfilling the
    concession.
▪   Maltese courts will present a decision on revoking the Steward's concession which have been a significant
    source of problems.
▪   Steward has repeatedly claimed that its Maltese operations are loss-making when seeking further funding
    from the government.

A background to the Malta concession scandal is also annexed to this report.



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     1. Investment in Steward Health Care International Ltd
On May 11, 2020, MPW closed a $205m investment for 49% of a JV with Steward founder, Ralph De La Torre,
to “invest in select international hospitals” (“the JV”). The JV was said to have purchased “rights and existing
assets related to all present and future international opportunities previously owned by Steward”.




                                 Figure 2 – MPW Q2 2020 Results Announcement – Jul 30, 20201

Related to this transaction, MPW also announced that it would invest a further “$100 million in a portfolio of
three hospitals in underserved areas of Colombia”. These would be operated by the JV.



                                  Figure 3 – MPW Q2 2020 Results Announcement – Jul 30, 2020

Despite announcing that the JV’s business would be to “invest in select international hospitals”, MPW CEO, Ed
Aldag, clearly states on the conference call that the JV is an “opco”, meaning that it will not “invest” in hospitals:
it will operate them.




                                       Figures 4 – MPW Q2 2020 Earnings Call – Jul 30, 2020

The Steward Angle
This JV transaction is reported in more detail in the 2020 Steward Health Care System’s (“Steward Systems”)
financial statements.

Steward claims that it divested Steward Health Care International Holdings Ltd (“Steward International”) to a
joint venture controlled by Steward’s “management equity holders” and MPW for $200m.




                                       Figures 5 – MPW Q2 2020 Earnings Call – Jul 30, 2020

Key Takeaways
▪    MPW appears to have entirely funded the JV with $205m, for which they received a minority stake of 49%.
▪    The JV acquires Steward International for $200m, resulting in a $173m gain-on-sale to Steward.
▪    MPW paid 7.4x premium to book for Steward International. We will explore these assets. This is consistent
     with revenue round tripping. The only winner otherwise is Ralph De La Torre. The transaction is entirely
     uncommercial.
▪    MPW committed $100m to purchasing 3 Colombian hospitals, which will be operated by the JV.


1 https://www.medicalpropertiestrust.com/press-release?page=https://medicalpropertiestrust.gcs-web.com/news-releases/news-

release-details/medical-properties-trust-inc-reports-second-quarter-results-4
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       2. Who Owns Steward International?
We’ll preface this section by stating that, to our knowledge, MPW has never disclosed the name of its JV entity
with Ralph De La Torre. This is an enormous red-flag. Off-balance sheet entities create the potential for theft,
round-tripping, or even hiding losses, and should be heavily scrutinized.

Steward’s financials claim that the JV purchased “Steward Health Care International Holdings Ltd”, a British
entity:




                                          Figure 6 – Extract from UK Companies House2

From the date of the JV transaction announcement until its dissolution in February 2022, almost 2 years after it
was acquired by the JV, Steward International was always owned by Steward Systems. It never changed hands.

A confirmation statement was lodged on 22 April 2020 showing Steward International as sole shareholder. A
subsequent confirmation statement was made on 22 April 2021 with “no updates”. The company was
subsequently struck-off.




                       Figure 7 – Extract from Steward International Confirmation statement – 10 Jun 2020


                                             What did the JV acquire for $200m?




2
    https://find-and-update.company-information.service.gov.uk/company/11934840
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       3. What did Steward International Own?
The only assets Viceroy believe Steward International owned at the date of the JV transaction were in Malta.
This is corroborated by wayback archives of Steward International’s website in early 20213.

Indeed, at the date of the JV’s fictional acquisition of Steward International, Steward’s Malta “Holdco”, Steward
Health Care International Ltd Malta (“Steward Malta”) was 100% owned by Steward International.




                          Figure 8 – Steward Malta – Annual Return for period ending 1 November 2020

In a bizarre turn of events, Steward Malta lodged a correction to this 2020 Annual Return in November 2021,
along with a transfer of ownership form, in August 2022 – almost 2 years after the JV supposedly acquired
Steward International.

These claim, retrospectively, that Steward Malta was transferred to Steward Health Care International S.L. Spain
(formerly Cordiant Healthcare Services KSA, S.L, referred to herein as “Steward Spain”) on 12 May 2020, one
day after the MPW closed the JV investment.

PWC needs to pay attention here. This document appears to have been backdated by over 1 year.




                             Figure 9 – Extract from Steward Malta Annual Return correction notice


3
    https://web.archive.org/web/20210314205135/https://www.stewardinternational.org/
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     4. Who Owns Steward Spain? – “Manolete”
Dozens of filings pulled from Spanish business registries show that Steward Spain’s immediate parent entity is a
Delaware company called Manolete Health Management LLC. It appears that Manolete Health Management
LLC exists in a group of Delaware companies which include Manolete Health LLC and Manolete Health Holdings
LLC.

A similarly named entity, Manolete Health Limited, was incorporated and immediately dissolved by Ralph De
La Torre in the UK4.




                                                Figure 10 – UK Companies House Extract

All of these entities were created in April 2020, the month preceding the JV transaction.

MPT Manolete Opco TRS, LLC – 49% JV Interest Holder
Curiously, MPW also has a subsidiary titled “Manolete”, also in Delaware, and created only days before the date
of the JV transaction.




                                               Figure 11 – UK Companies House Extract5


         MPT Manolete Opco TRS appears hold MPW’s 49% JV equity interest in Steward International.




4 Manolete is the name of one of the greatest bullfighters of all time.
5 It is likely that Ralph De La Torre was unaware that his details would be made public. He actively distanced his registration from his other

UK registrations of Steward entities by apparently creating a “second” Ralph De La Torre on the register’s system.
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Steward Health Care International Investors LLC – 51% JV Interest Holder
Steward Spain’s ultimate beneficial owners are Steward Health Care International Investors LLC, based in
Delaware (“Steward Investors”). Steward Investors is listed as the UBO in Steward Spain’s financial accounts for
period ending 31 December 2020. We note that, at this date, Steward Malta was already an alleged subsidiary
of Steward Spain.




                                Figure 12 – Extract from Steward Spain 2020 Financial Accounts

Steward Investors is also the only non-individual listed as an authorized person of Steward Spain.




                              Figure 13 – Extract from Spanish Business Registries – Steward Spain



               Steward Investors appears to hold the 51% JV equity interest in Steward International.



We note that we cannot determine ownership of Steward Investors but note that its registered office is the
same address, including Suite, as Steward Systems.



                   Steward Malta crucially appears to share staff & offices with Steward Systems.




             Figures 14 & 15 – Steward Investors LLC OpenGov extract6 & Steward Corporate HQ Address (LinkedIn)




6
    https://opengovus.com/texas-taxpayer/32080709150
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    5. The JV Structure – Viceroy Research
Viceroy’s investigations show a much clearer picture of MPW’s Steward International JV structure.

We have developed a rough corporate tree which illustrates the current structure of the JV, as it stands, and
note that the circumstances surrounding the transaction, what MPW paid for, and what MPW received, are
completely fabricated and intentionally opaque.

This behavior is consistent with money laundering and revenue round tripping.




                                          Figure 16 – Viceroy Analysis

Given the intentionally opaque nature of the JV, we note that there may be further entities which fall between
various HoldCos and Opcos and Management Cos. From our understanding. This is substantially the current
structure.

“NOT US”
Despite piecing together dozens of filings to detail JV ownership of Steward Internal, both MPW and Steward
Systems explicitly deny owning any part of Steward International and Steward Malta.




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     7. “We do not own Malta”
Under fire from the media: Steward Malta made the strange and impossible claim that it had no connection to
both MPW and Steward, directly contradicting statements made by both.




                                Figure 17 – Steward denies it will sell Barts – Malta Independent7

When Steward was queried further regarding the structure of the JV by MaltaToday journalist, Matthew Vella,
he received this response:

          “…Ahead of the 2020 transaction to which you refer, Steward Health Care International owned a
          collection of rights, intellectual property and subsidiaries. Most of the assets were sold into the
          international joint venture you mention; however, the name ‘Steward Health Care International’ and
          the subsidiary, Steward Health Care International-Malta, were sold to a Madrid-based and
          incorporated company – the current Steward Health Care International. This company now owns and
          runs the Maltese operations and is a fully independent company not related to Steward Health Care
          Systems LLC or the joint venture.

          As it is a fully independent entity, Steward Health Care International is not in a position to respond to
          questions relating to the ownership or the activities of the joint venture or Steward Health Care Systems
          LLC, nor the activities of its shareholders. Any questions on these matters must be addressed to the
          relevant parties...”

          -     Steward Malta Spokesperson – provided to Viceroy Research by Matthew Vella of MaltaToday


    This entire recollection of events appears to be completely fabricated and backdated by Steward & MPW.

▪    MPW and Steward Systems annual financial statements and disclosures state that the JV purchased
     Steward Health Care International Ltd and rights to all of Steward’s present and future international
     opportunities on 11 May 2020.
     -    At the date of acquisition, Steward Health Care International Ltd owned Steward Malta.
▪    Steward Health Care International Ltd was never transferred to a JV and deregistered in February 2022.
▪    2 years after the JV transaction date, and 6 months after the deregistration of Steward Health Care
     International Ltd: Steward Malta lodged a backdated letter to the Malta companies house, stating that
     Steward Malta had been transferred to Steward Spain on May 12, 2020.
     -    This followed, not preceded, the JV’s purported May 11, 2020, acquisition of Steward International.
▪    Steward Spain, the current owner of Steward Malta, appears to be held by Manolete Health Holdings: the
     JV holding vehicle.
     -    MPW appears to hold its 49% stake in the JV via MPT Manolete Opco TRS
     -    The remaining 51% controlling holder of the JV, purportedly controlled by Ralph De La Torre, is Steward
          Health Care International Investors LLC
▪    “Commercial connections” between MPW and Steward Malta appear relatively straight forward.
▪    Steward Malta’s UBO operates out of Steward System’s headquarters and shares staff and management
     with Steward Systems.


              Even if MPW insist they don’t know Steward Malta, then what did the did the $205m buy!?


7 https://www.independent.com.mt/articles/2022-02-01/local-news/Steward-International-denies-it-will-sell-Barts-says-it-is-completely-

renegotiating-hospital-deal-6736240285
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     8. Hot Potato – Who Wants Malta?
It is already clear that the circumstances surrounding the JV appear tantamount to money laundering. Hold onto
your hats. We presume readers have some background Malta’s highly controversial/corrupt hospital concession
scandal. In any case, we have Annexed to this report a quick breakdown of the story.

Put simply, Steward purchased a Maltese hospital concession obtained through corruption while retaining the
key actors in that corruption. Viceroy will show in this section how the same individuals that brokered the Vitals
deal came to work for Steward in their international campaign.

Steward acknowledged in “irregular and collusive practices” (read: corrupt) that led to the Vitals concession.
Strange that it would then go on to work with so many of those individuals following.




                      Figure 18 – Steward drops its legal bid to avoid US$6.5m payment – Times of Malta8

Vitals Global Healthcare & Major Players – What KYC/AML?
Vitals Global Healthcare (“VGH”) appear to have originally obtained the Malta hospital concession through
corrupt means. Steward is VGH’s successor, in the sense that Steward has purchased the concession.

The Shift has a fantastic investigative series on the “Vital Hospital Deal”. It can be found here9.

Behind the Vitals deal were Bluestone Investments and the following individuals (among others). This section
provide a brief of their involvement in the VGH scandal, and highlight that many worked for, or still work for,
Steward International.

We note that substantially all of these player appear to be “of interest” in the running criminal enquiries
surrounding VGH. They may be subject to formal criminal proceedings subject to outcomes of legal cases
submitted by Malta politician and Muscat opponent, Adrian Delia.

Ram Tumuluri - Investor in Bluestone
Mr. Tumuluri appears to be a career con man. Extensively written about by the late Daphne Caruana Galiza.




                              Figure 19 – Extract from Running Commentary – November 4, 201610

Mr. Tumuluri has subsequently been suspected of replicating VGH’s fraudulent model in Mumbai, as his brand-
new company was awarded a €332m to procure double decker and electric busses. Mr. Tumuluri has no
background in busses. Legislative assembly members in India labeled Mr. Tumuluri an “international
scammer”11.

Previously, Mr. Tumuluri has been accused of abandoning failed projects in Canada, which now face “big
lawsuits”, according to investors left holding the bag12. Albanian news outlet Exit News states that Ram Tumuluri
and Shaukat Ali were “involved in both VGH and Steward” 13.

8 https://timesofmalta.com/articles/view/steward-drops-its-legal-bid-to-avoid-us65m-payment.934738
9 https://theshiftnews.com/category/investigations/hospital-deal/
10 https://daphnecaruanagalizia.com/2016/11/ram-tumuluri-running-canadian-lakeside-hotel-insolvency-running-maltas-public-hospitals/
11 https://theshiftnews.com/2022/03/18/ram-tumuluri-suspected-of-replicating-fraudulent-malta-vgh-model-in-mumbai/
12 https://ram-tumuluri.yolasite.com/
13 https://english.republika.mk/news/macedonia/suspicious-businessman-with-ties-to-gaddafi-is-zaevs-contact-for-a-major-healthcare-

project/
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Shaukat Ali Ghafoor & Asad Ali – Investors in Bluestone.
Shaukat Ali Ghafoor & his son14, Asad Ali, appear to be a career con men. Along with his son, Asad Ali, Shaukat
was signatory to the original MoU which awarded the corrupt hospital concession to VGH15 in 2014.

Power broking for Steward

Shaukat Ali allegedly brokered similar agreements to that in Malta with the governments of Montenegro,
Macedonia and Albania wherein Vitals was the original counterparty, later replaced by Steward.

▪    Media reports indicate that Steward retained the services of Shaukat Ali to negotiate with the Northern
     Macedonian government led by Prime Minister Zoran Zaev16.
▪    In May 2018 Macedonian prime minister Zaev allegedly met with then-Prime Minister of Malta Joseph
     Muscat and Shaukat Ali to discuss the privatization of North Macedonian hospitals. Albanian news outlet
     Exit News claims that there are photos evidencing that the meeting took place, but these photos have not
     been publicized.
     -    By then Steward had announced its takeover of the VGH concession in Malta (this happened on 20
          December 2017)17.
▪    Albanian news outlet Exit News states that Ram Tumuluri and Shaukat Ali were “involved in both VGH and
     Steward”18.

Other issues

▪    Shaukat Ali had previously tried to buy the St James hospital together with Tumuluri and Gupta but the deal
     fell through when they were unable to come up with a down payment19.
▪    Both Shaukat Ali Ghafoor and Asad Ali are “investors” in Ram Tumuluri’s suspected fraudulent scheme to
     supply busses to India20.
     -    Indian political figures also allege that Asad Ali is involved with the hawala business, an informal
          remittance network that operates in the middle east and India.
▪    Shaukat Ali also received suspicious payments from Accutor Limited, a company that acted as a go-between
     for under-the-table payments relating to the hospital concession to Muscat, Tumuluri and Bluestone. Swiss
     banking and accounting records reviewed by the Times of Malta showed Steward wired Accutor EUR3.6m,
     2.49m of which was wired on the same day it issued a statement that it was taking over the Vitals
     concession21. For their part Steward claimed ignorance, saying that it was directed to make those payments
     by Vitals management.
     -    Two of Accutor’s directors resigned simultaneously when they found that these payments had been
          hidden from them22.
▪    Asad Ali was previously a major shareholder in Corporate International Consultancy, a company headed by
     John Dalli, former EU commissioner found to have taken bribes and operated several frauds23.




14 https://www.maltatoday.com.mt/news/national/84246/saint_james_hospital_the_botched_sale_and_the_middleman#.YkdV5igpCUk
15 https://theshiftnews.com/2018/01/27/vitals-ownership-untangling-the-web/
16 https://english.republika.mk/news/macedonia/suspicious-businessman-with-ties-to-gaddafi-is-zaevs-contact-for-a-major-healthcare-

project/
17https://www.maltatoday.com.mt/news/national/83233/vitals_selling_malta_hospitals_concession_american_steward_healthcare#.Ykd

VsigpCUk
18 https://exit.al/en/2020/03/03/company-eyeing-lucrative-healthcare-ppp-in-albania-owes-e12-million-to-maltese-government/
19 https://www.maltatoday.com.mt/news/national/84246/saint_james_hospital_the_botched_sale_and_the_middleman#.Y-O2s3bMKUk
20 https://theshiftnews.com/2022/03/18/ram-tumuluri-suspected-of-replicating-fraudulent-malta-vgh-model-in-mumbai/
21 https://timesofmalta.com/articles/view/joseph-muscat-wired-thousands-of-euro-by-swiss-firm-linked-to-vgh.913212
22 https://timesofmalta.com/articles/view/former-partners-raise-red-flags-on-man-behind-joseph-muscat-payments.913224
23
   https://www.nytimes.com/2017/05/12/world/europe/dalli-eu-fraud-ponzi-scheme.html
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Mark Pawley – Investor in Bluestone
Mark Edward Pawley represented majority Bluestone Special Situation 4 Ltd, Vitals’ ultimate beneficial owner.

A court filing by KPMG Singapore for nonpayment relating to services to Bluestone Special Situations 4 shows
Pawley is indeed the UBO of Bluestone. Amusingly the legal actions hinge on Pawley’s attempted avoidance of
a personal guarantee over Bluestone24.

While the judgment is silent on what exactly KPMG was doing for Bluestone, the timing and labelling of the
charges suggest it was for advisory services related to the Vitals deal.




                                    Figure 20 – Suit No 264 of 2019 High Court of Singapore

Pawley further claimed in a December 2020 transcript that Bluestone had no assets and was not in a position to
pay KMPG.

Bluestone effectively began funneling money out of Vitals as quickly as it came in. In fact, it’s clear that Vitals
was simply a conduit of cash from the Maltese government to Bluestone.




            Figure 21 – Millions of euros shifted out of Vitals on days of government payments – Times of Malta25

Pawley along with Tumuluri also signed a backdated EUR400k a year contract for himself that Steward would
eventually pay out of their pocket26.



24 https://www.elitigation.sg/gd/s/2021_SGHC_54
25 https://timesofmalta.com/articles/view/millions-euros-shifted-vitals-days-government-payments.970193
26

https://www.maltatoday.com.mt/news/national/100845/vitals_directors_paid_themselves_1_million_annually_in_contract_drawn_up_
months_before_exit#.Y-NnoXbMKUk
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Armin Ernst – CEO of Steward International, former CEO of VGH
Ernst was a previous Steward employee, who then became the head of VGH, and then became Steward
International’s CEO in the collapse of VGH. The Times of Malta state that these roles appear to overlap for
extended periods27.

Ernst was actively involved in various questionable transactions at VGH, even as Steward attempt to distance
themselves from VGH’s alleged fraud and could not deliver on any of VGH’s financial obligations required under
its concession. VGH nonetheless accepted €50m in concessions from the Government through these
concessions28.

Ernst also accompanied VGH staff and investors to various Eastern European countries in an apparent attempt
to replicate VGH’s scheme in Malta.

Ambrish Gupta – Investor in Bluestone
Ambrish Gupta is the owner of Medical Associates of Northern Virginia (now Inovadocs), an early investor in the
Vitals project who funded its expenses through a loan. As part of a dispute between Vitals investors a settlement
was reached to pay MANV $10m, 5m immediately and 5m later which was never paid.

While we do not have enough visibility to say for certain it appears as though Gupta’s role in the Vitals saga
extended as far as this bridge loan. It is over this unpaid $5m that Gupta sued Steward Health Care in the UK.

Nadine Delicata – VP of Operations at Vitals
Steward Health Care Malta’s Executive Director and President Nadine Delicata was formerly VP of Operations at
Vitals Global Healthcare29,30. Delicata wrote a piece for the Independent trashing Vitals and praising Steward
while neglecting to mention her own involvement in the situation31.




27 https://timesofmalta.com/articles/view/20171222/local/vitals-ceo-profile-says-he-worked-simultaneously-for-new-concession.666264
28 https://theshiftnews.com/2018/02/25/key-questions-no-answers/
29 https://mt.linkedin.com/in/nadine-delicata-4068a827
30 https://www.independent.com.mt/articles/2017-04-02/local-interviews/VGH-will-ensure-equity-of-care-for-NHS-patients-and-paying-

patients-6736172385
31
   https://timesofmalta.com/articles/view/stewards-president-things-were-actually.932314#cta_comments
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Maltese government officials
Joseph Muscat – Disgraced former Prime Minister
Disgraced former Maltese Prime Minister, Joseph Muscat, has been and appears to continue to be involved in
government negotiations between Steward and VGH 32. Muscat resigned unceremoniously in controversy
surrounding his alleged involvement in the murder-for-hire assassination of journalist, Daphne Caruana Galiza,
who wrote extensively on this fraudulent Maltese concession.

Muscat was also accompanied by Steward representatives in his visits to Macedonia to cheerlead for a public-
private partnership there.

Shaukat was also seen in meetings between Steward and foreign governments, alongside Joseph Muscat33.

Muscat received EUR60k in suspicious payments, claiming that this was in exchange for consultancy work he
carried out by the firm.

Nonetheless, scrutiny over the deal led to a raid on Muscat’s home by Maltese police in January 2022 over the
ongoing corruption probe.

Konrad Mizzi – Disgraced former Tourism Minister
Former Maltese tourism minister Konrad Mizzi was the individual who set in motion the Vitals saga by awarding
the 30-year concession to Vitals in the first place in 2015 through Projects Malta, a company under his purview.
Later investigations by the National Audit Office would show that the MoU with Vitals was signed before a
request for proposals was submitted.

The original agreement required funding to be secured before the concession became effective, a requirement
waived six months later by MIzzi34.

Mizzi also signed the 2019 agreement with Steward that contained an “escape clause”, part of a EUR28m loan
stating that any termination of the concession in a court of law would constitute a government default while
granting Steward a EUR100m pay-out.

Keith Schembri
Keith Schembri is the former chief of staff to Joseph Muscat who resigned in relation to the murder investigation
of Maltese journalist Daphne Caruana Galizia.

A design firm owned by Schembri’s wife and himself, 3City design, received payment from Vitals and then
Steward. These payments began around the time Steward was in talks to buy the concession from Vitals and
were to design a carpark at the hospital although this duty belonged to the local council. After taking over the
concession from Vitals Steward kept up the payments for another 9 months.

The entity through which Schembri owned his stake in 3City was Kasco, which was used for money laundering
in a separate case. Both Schembri and his wife were charged with money laundering in 2021 with prosecutors
alleging EUR1.5m were laundered through the company from 2008 to 2020.




32 https://www.independent.com.mt/articles/2020-01-25/local-news/Muscat-s-presence-at-OPM-Steward-Healthcare-meeting-raises-

eyebrows-6736218873
33 https://web.archive.org/web/20200202231116/https://exit.al/en/2020/01/31/ppp-by-stealth-north-macedonia-a-disgraced-ex-prime-

minister-and-ramas-healthcare-propaganda/
34
   https://theshiftnews.com/2018/02/25/key-questions-no-answers/
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    9. Implication
It’s easy to get lost in the details of the Maltese transaction but the key takeaways are:

▪    Steward purchased the Maltese hospital concession knowing it was connected to corrupt practices.
▪    Vitals had no reliable accounting records to speak of, a fact that would have come up in Steward and
     MPW’s due diligence processes.
▪    The individuals behind those corrupt practices (Ernst, Shaukat and Asad Ali) would remain involved with
     Steward, either directly in Ernst’s and Asad Ali’s case or indirectly with Shaukat Ali cheerleading projects in
     eastern Europe.
▪    Vitals was systematically looted by its shareholders and had no intention or capability of ever fulfilling the
     concession.
▪    Maltese courts will present a decision on revoking the Steward's concession which have been a significant
     source of problems.
▪    Steward has repeatedly claimed that its Maltese operations are loss-making when seeking further funding
     from the government.

It’s not hard to see why no one wants Malta.




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Annexure – Background: Malta Hospital Concession
In this section, we will explain why MPW and Steward are playing hot potato with Steward Malta. This is by
no means a full background to one of the most fascinatingly long winded, and most obviously corrupt, political
healthcare deals of all time. We take our hats off to the various journalists who uncovered this corruption.

In 2015 Projects Malta, a company under the purview of then tourism minister Konrad Mizzi, awarded a 30-year
concession to Vitals Global Healthcare (“VGH”) to operate and modernize three previously state-owned
hospitals: the St. Luke’s Hospital, Karen Grech Rehabilitation Hospital and Gozo General Hospital.

The deal immediately attracted media controversy in Malta because VGH had no track record as a healthcare
operator and refused to disclose its beneficial owners. It also became the subject of allegations that the deal
between the Maltese government and VGH was arranged ahead of the public tender for the concession.

It was uncovered that VGH was connected to various career con men.

In the next two years, VGH also failed to honor its contractual obligations to the Maltese government. While it
received around 70 million annually to run the hospitals, it failed to make the required EUR 220 million in capital
expenditures.

Preliminary Malta Investigations - NAO
In 2018 Adrian Delia, the leader of the main opposition party, the Nationalist Party, called on the National Audit
Office (“NAO”) to probe the government’s agreement with VGH. He also filed a lawsuit against former prime
minister Joseph Muscat, VGH, the Attorney General, the CEO of Malta Industrial Parks Limited and the chairman
of the board of the Lands Authority. Delia asked the court to cancel the contract underlying the concession for
the three hospitals, and to re-nationalize the hospitals35.

The NAO published its report in July 2020. It found “ proof of collusion” between government decision-makers
and VGH. Specifically, the NAO alleges that the government signed a memorandum of understanding (“MoU”)
with VGH several months before publishing its request for proposals (“RfP”). VGH then effectively used the MoU
to raise financing for the project and entered into an agreement with Bank of India several days before the
publication of the RfP36.

Hearings related to Delia’s lawsuit have produced testimony confirming other controversial aspects of
agreements related to the hospital concession. Current health minister Chris Fearne confirmed that in August
2019 Mizzi signed an agreement with Steward that contained an ‘escape clause’.

The clause forms part of a EUR 28 million loan agreement between the Bank of Valetta and Steward. It states
that any termination of the concession agreement in a court of law – even if Steward was in breach of contract
– would be considered a government default. It means that under these circumstances all liabilities in
conjunction with the hospitals would be passed on to the government, while Steward would receive, among
other things:

     ▪    a EUR 100 million contractual pay-out for its equity37
     ▪    the ability to sell properties to MPW via long-dated leaseholds38




35 https://www.independent.com.mt/articles/2021-01-18/local-news/Joseph-Muscat-to-testify-in-VGH-case-6736230247

https://www.maltatoday.com.mt/news/national/107086/hospitals_steward_facility_managers_cabinet_deal#.Y-DSDHbP1aY
https://www.independent.com.mt/articles/2021-03-01/local-news/Mizzi-OPM-were-holding-parallel-talks-with-VGH-behind-Fearne-s-
back-court-hears-6736231430
36 https://www.independent.com.mt/articles/2020-07-12/blogs-opinions/Lock-them-up-6736225028
37 https://www.maltatoday.com.mt/news/national/120727/labour_braced_for_steward_fallout_over_penalty_fraud_investigation_#.Y-

MU8nbP1aY
38https://www.maltatoday.com.mt/news/national/114729/steward_2019_unsigned_memorandum_included_plan_to_sell_barts_leaseho

ld#.Y-MJNHbP1aY
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Steward acquires hospital concession
In 2018 VGH sold its hospital concession to Steward for a symbolic price of EUR 1, having amassed net liabilities
of €27m in less than two years of operation. However, a settlement between Steward and former investors in
VGH about a an allegedly backdated contract meant that Bluestone Investment Management, VGH’s parent,
and Ram Tumuluri, one of its promoters, received a combined €15 million from Steward39.

The key driver behind the transaction was reportedly VGH’s former CEO Armin Ernst. He had been an
administrative officer at Steward, before joining VGH as its CEO in June 2016. He then left VGH in October
2017 and later re-joined Steward as the CEO of its international division, Steward Health Care International.
The division also oversees Steward’s hospital concession in Malta.

Steward attempts to re-negotiate contract
The transfer of the concession had to be approved by the Maltese government. It reportedly did so by signing a
preliminary MOU with Mizzi, which was expected to govern the parties’ relations until a re-negotiation of the
concession contract in 2019. The latter never materialized because of the political crisis in Malta that unfolded
in November 2019 over allegations that Mizzi and Muscat’s chief of staff, Keith Schembri, were involved in the
murder-for-hire of investigative journalist Daphne Caruana Galizia in 2017 40.

The contract negotiations were re-launched after Muscat resigned and handed power to Robert Abela in January
2020. Steward reportedly sought higher annual fees to run the hospital – up to EUR 120 million – and more
preferable default clauses. Steward’s CEO de la Torre and Steward Malta president Armin Ernst were reportedly
supported by diplomats from the US embassy41.

Steward also appears to enjoy the support of former Prime Minister Joseph Muscat. On 26 January, two weeks
after Muscat’s formal handover of power to party colleague and new prime minister Robert Abela, Muscat
reportedly requested a meeting with Abela on behalf of Steward. He is also said to have accompanied Steward
Malta CEO Ernst in the subsequent meeting with Abela, deputy prime minister Chris Fearne, principal permanent
secretary Mario Cutajar42.

Criminal Investigations & Recession of Concession
Since 2019 there has also been a criminal inquiry into the government’s concession award. In November 2019
the Criminal Court in Malta threw out an appeal by former cabinet ministers Edward Scicluna, Konrad Mizzi and
Chris Cardona against conducting a criminal inquiry into the events leading up to hospital concession award. The
request for the criminal inquiry had been filed by NGO Repubblika 43 in order to establish whether the ministers
had given VGH an unfair advantage. The inquiry is ongoing.

Mr. Delia has subsequently filed a court case in Malta for the recession of the privatization of the Maltese
hospitals. The outcome is due in the coming weeks 44.




39 https://www.maltatoday.com.mt/news/national/66633/vital_groups_hospital_management_takeover_kicks_off#.Y-MNzXbP1aY

https://www.maltatoday.com.mt/news/national/107086/hospitals_steward_facility_managers_cabinet_deal#.Y-MN3nbP1aY
https://theshiftnews.com/2018/02/25/key-questions-no-answers/
40 https://www.theguardian.com/politics/2019/dec/01/malta-pm-joseph-muscat-quits-daphne-caruana-galizia
41 https://www.maltatoday.com.mt/news/national/104813/americans_put_the_heat_on_ministers_with_moneyval_test#.Y-MYN3bP1aa
42 https://www.independent.com.mt/articles/2020-01-26/local-news/Muscat-s-presence-at-OPM-Steward-Healthcare-meeting-raises-

eyebrows-6736218873
https://www.maltatoday.com.mt/news/national/99979/joseph_muscat_lobbies_robert_abela_to_renegotiate_steward_deal#.Y-
MYgnbP1aY
43 https://timesofmalta.com/articles/view/passport-buyer-milked-millions-vitals-deal.967303
44 https://www.maltatoday.com.mt/news/national/120727/labour_braced_for_steward_fallout_over_penalty_fraud_investigation_#.Y-

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MPW Case Study – Steward International Pt. 2
Steward International falsely denies MPW ownership or control. Viceroy investigations unearth
Colombian title deeds and securities filings exposing this lie.

PLEASE READ IMPORTANT DISCLAIMER – PAGE 10

February 13, 2023 – On February 9, 2023, Viceroy Research investigations exposed MPW & Ralph De La Torre’s
JV’s structure, the ownership of Steward Malta, and egregious, and possibly criminal, payments made between
MPW, Steward Systems, the JV, and various international entities.

▪   Assets purchased by the JV were never transferred to the JV. There appears to have been no AML or KYC
    checks.
▪   The assets that the JV purportedly bought from Steward for $200m were valued at $27m.
▪   MPW & Steward uniformly deny they are related to “independent” Steward International and Steward
    Malta. Viceroy’s investigation shows that Steward Malta’s UBO is based in Steward’s HQ, and that MPW
    appear to own 49% of Steward Malta. MPW actively lies to investors.
▪   Steward Malta, its staff, and its concession are the subject of broad international criminal inquiries.

Our MPW investigations can be found here.

On February 11, 2023, Steward International doubled down, and stated to MaltaToday journalists that “MPW
does not in any way own or control Steward Health Care International”. It has also previously categorically
denied any commercial relationship with MPW, and any legal relationship with Steward Health Care Systems
(US). This was a honeypot.

Viceroy investigations will today show that:

    ▪    Steward International subsidiary by-laws filed in Colombia, where Steward International operate,
         explicitly state MPW is a shareholder of the Manolete Health companies, who directly own Steward
         Health Care International SL (Spain), vis a vis Steward Malta and Colombia.
    ▪    Steward International’s Colombia venture is equally convoluted, opaque, and dishonest. MPW have
         misrepresented the structure of this venture without corrections, leaving analysts in the dark.
    ▪    MPW have vastly overpaid for Steward International real assets and operational businesses through
         uncommercial transactions with Manolete / the Ralph De La Torre JV.

This report will dive into ground-level details of MPW’s Colombia exposure. The structure, value, and yield of
MPW’s proposed Colombian investment varied with the seasons, literally. In all forms of proposed Colombian
transactions, MPW massively overpaid for Colombian assets, and financed Steward and/or Ralph De La Torre’s
entire venture into the market.
▪   Conflicting statements and filings suggest MPW do not own any direct interest in the properties of
    Colombian hospitals, despite explicit assertions that MPW would invest $100m in Colombian real assets,
    which would subsequently be operated by its Steward International JV.
▪   The value of MPW Colombian mortgages to its Manolete JV vastly exceeds the value of underlying
    secured assets and is substantially financed by the equity of Colombian hospital operators.
▪   MPW appears to have entered into financial commitments to invest in Colombian hospitals without any
    discernible due diligence, and without any transparent or consistent disclosures to stakeholders.


           We do not believe MPW auditors can reasonably assure the accuracy of MPW’s financial
             statements, given that management is actively concealing the group’s corporate
                                                structure.
                               We believe a disclaimer of opinion is warranted.



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    1. Steward Denials
In response to Viceroy’s investigations, Steward International provided the following quote to MaltaToday’s
Matthew Vella, denying any association between Steward International, MPW and Steward Health Care Systems
(USA).




              Figure 1 – Opaque Steward ownership distances Americans from Malta fall-out – MaltaToday1

The company goes on to say that it is fully independent of Steward Systems and the joint venture that it does
not address by name.




               Figure 2 – Opaque Steward ownership distances Americans from Malta fall-out – MaltaToday

Viceroy have already shown that the Manolete entities are immediate parents of Steward Health Care
International through several opaque jurisdictions.

The UBO of Steward International is Steward Health Care International Investors, who share staff and office with
Steward Systems. The CEO of Steward International has an active @steward.org email address and appears on
the Steward Systems leadership page.

This report will confirm that MPW is a minority JV shareholder in Manolete via bylaw filings lodged by Steward
International’s Malta subsidiaries. The entire acquisition of Steward International was funded by MPW.

These denials are ridiculous. Steward International is allegedly fully independent of:

▪   MPW, the company who fully funded the JV to acquire Steward’s international assets.
▪   Manolete, its shareholder according to Spanish company registry filings.
▪   The unnamed joint venture, which we have identified as Manolete.
▪   Steward Health Care International Holdings Ltd (UK), the company Steward System sold to MPW and
    Steward management equity holders.
▪   Steward System, the company with which its UBO Steward Health Care International Investors LLC shares
    address and personnel.

Steward’s statements, limitations of public disclosures, make any attempt to map out the Steward International
ownership speculative at best, especially with ongoing denials of ownership that appear to be patently false.

We do not believe MPW auditors can reasonably assure the accuracy of MPW’s financial statements, given that
management is actively concealing the group’s corporate structure. We believe a disclaimer of opinion is
warranted.



1 https://www.maltatoday.com.mt/news/national/121239/opaque_steward_ownership_distances_americans_from_malta_fallout#.Y-

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    2. Colombia Filings – MPW Shareholders of Steward International
Readers may be aware of MPW’s sizeable and vague investments in Colombia through and/or connected to its
Steward International JV with Steward founder, Ralph De La Torre.

Various filings pulled from Steward International subsidiaries in Colombia show that MPW is unequivocally a
shareholder in Manolete. These filings include amendments to Steward International subsidiary bylaws, which
allows MPT, in its capacity as a shareholder of Manolete, to deliver notice of default to any Steward International
subsidiary in the event the subsidiaries are insolvent.

                                                                                         “if there has been a Major
                                                                                         Default…by or with respect
                                                                                        to the Company or any of its
                                                                                          Subsidiaries …, and upon
                                                                                         delivery by MPT (so long as
                                                                                             MPT is a member of
                                                                                          Manolete Health LLC) to
                                                                                        Company of notice that such
                                                                                              Default Major has
                                                                                                  occurred…
                     Figure 3 – Cordiant (Steward Colombia) by-laws amendment and translation

Manolete, in turn, are immediate parent companies of both Steward Malta and Steward Colombia.




                            Figure 4 – Steward Health Care International SL Registry entries




                                   Figure 5 – Viceroy Research – estimate structure


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Steward International & Steward Systems
We further note that Steward International has denied any legal relationship with Steward Health Care Systems,
the US Steward parent company. This is despite the fact that Steward International’s ultimate beneficial owner
(i.e. the 51% shareholder in Manolete), Steward Health Care International Investors LLC, is based out of Steward
System’s offices.




                       Figure 6 – Steward Health Care International Investors LLC – Texas company search2

Steward International’s web domains are registered by Steward System staff and addresses. The registrant, Mark
Rich remains a senior advisor at Steward Health Care Investors LLC and served as Steward System’s Interim CFO3.
The registrant email is Steward System’s head of digital marketing4.




                                    Figure 7 – stewardinternational.org whois search results5




2 Visit https://mycpa.cpa.state.tx.us/coa/search.do and search for Tax ID 32080709176
3 https://www.linkedin.com/in/mark-rich-14628b10/
4 https://www.healthcarestrategy.com/blog/speakers/colleen-walsh/
5
    https://uk.godaddy.com/whois/results.aspx?checkAvail=1&tmskey=&domain=stewardinternational.org
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Steward International’s leadership team, who proclaim to be entirely independent from their US counterparts,
nevertheless feature on the Steward Systems’ “Leadership” web page:




                                     Figure 8 - Steward.org “Leadership” page

Steward International’s CEO, Armin Ernst, has an active @steward.org email address which delivered questions
from Viceroy relating to the structure of Steward International.




                 Figure 9 - Viceroy delivered email to Armin Ernst mailbox under steward.org domain


Viceroy do not believe MPW and Steward auditors can provide reasonable assurance as to the accuracy of
respective company financial statements given intentionally deceptive behavior, which now appears to include
the fabrication of international corporate structures.




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     3. Steward Colombia – Uncommercial in its own right
Finger in the wind – how much money did MPW burn in Colombia?
According to MPW, it invested $135m in the real estate of 3 Colombian companies as was stated in their Q2
2020 earnings call.




                     Figures 10, 11 & 12 – Annual Report 2020 and Annual Report 2021 and Q3 2022 10-Q




                                                  Figure 13 – Q2 2020 Earnings Call

It turns out these statements were a touch misleading.

▪    The structure, value, and yield of MPW’s proposed Colombian investment varied with the seasons,
     literally. In all forms of proposed Colombian transactions, MPW massively overpaid for Colombian assets,
     and financed Steward and/or Ralph De La Torre’s entire venture into the market.
▪    A trace of MPW’s Colombian JV show that it is a subsidiary of the Steward International Manolete JV: the
     same MPW JV group that holds interest in Steward Malta.
▪    MPW’s does not appear to hold any direct interest in the properties of Colombian hospitals, despite
     explicit assertions that MPW would invest $100m in Colombian real assets, which would subsequently be
     operated by its Steward International JV.
▪    The value of MPW Colombian mortgages to its Manolete JV vastly exceeds the value of underlying secured
     assets and is substantially financed by the equity of Colombian hospital operators.
▪    MPW entered into financial commitments to invest in Colombian hospitals without any evident due
     diligence, and without any transparent or consistent disclosures to stakeholders.

We believe that MPW financed this acquisition wholesale, corroborated by local media reports that the purchase
“would be financed entirely by Medical Properties Trust”.




              Figure 14 – Medical Properties Trust and Steward Health Care enter Colombian healthcare market6




6 https://www.toprankedlegal.com/press-release/medical-properties-trust-and-steward-health-care-to-enter-into-the-colombian-health-

care-market-with-the-acquisition-of-clinics-operated-by-national-clinics/
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Centenario – Timeline
The deed for Centenario shows it was transferred from Loto Asociados SAS (formerly Lithia Investment SAS) to
PA Centenario for COP52b ($14.4m).

                                                                    “taking as the settlement basis the value of the
                                                                    cadastral appraisal of the trust assets, in this case it
                                                                    is the sum of FIFTY-TWO THOUSAND THREE
                                                                    HUNDRED SEVENTY-NINE MILLION FOUR HUNDRED
                                                                    EIGHTY-FOUR THOUSAND PESOS ($52,379
                                                                    .484,000) Colombian legal currency, which will be
                                                                    assumed by THE TRUSTOR B.”
                       Figure 15 – Centenario Sales Deed and accompanying documents and translation

Loto Asociados was a vehicle used by owners of the defrauded Colombian EPS Salud Vida company to siphon
assets out of the SaludVida company and into their hand’s owner Hortensia Arenas Avila and her family.

▪    Between 2014 and 2016 Salud Vida sold 46 properties from their holding company clinic Bogota valued at
     COP 32.0b to Lithia Investment SAS in exchange for promissory notes in the value of COP164b ($34.28m)7.
     These buildings include the property clinica Centenario operates in8.




     Figure 16 - Prosecutor's Office investigates robberies and irregular operations of the EPS Salud Vida – Caracol Radio

▪    Local media appear to incorrectly report that Lithia is a Panamanian company 9 and a court dispute
     between Loto Asociados and SaludVida (then in liquidation) appears to confirm that the Loto Asociados
     that sold Centenario is the same that looted SaludVida10.
▪    The trust was settled by an agreement between Loto Asociados (formerly Lithia Investment SAS) and
     Cordiant Health Services.
▪    Loto Asociados is owned by Panama based Proteas International Investments Corp 11. Its directors Vernon
     Emmanuel Salazar Zurita, Delio Jose de Leon Mela and Lilia Tovar de Leon have all been implicated in
     wrongdoing and appear prominently in the Panama Papers12,13,14,15.




7 https://caracol.com.co/radio/2019/12/05/judicial/1575542198_354472.html
8 https://stewardcolombia.org/wp-content/uploads/2021/04/Centenario_Balance_General_Estado_Resultados_2018.pdf
9 Its parent company Proteas is Panamanian
10 https://unilibrebog-my.sharepoint.com/personal/camiloa-

baqueroa_unilibre_edu_co/_layouts/15/onedrive.aspx?ga=1&id=%2Fpersonal%2Fcamiloa%2Dbaqueroa%5Funilibre%5Fedu%5Fco%2FDoc
uments%2F20%2E%20ESTADOS%20VIRTUALES%2FAUTOS%2F2022%2FESTADO%20No%2E%2039%2F017%2D2020%2D264%2Epdf&paren
t=%2Fpersonal%2Fcamiloa%2Dbaqueroa%5Funilibre%5Fedu%5Fco%2FDocuments%2F20%2E%20ESTADOS%20VIRTUALES%2FAUTOS%2F2
022%2FESTADO%20No%2E%2039
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https://www.ccb.org.co/content/download/168121/file/%285799%29%20Julio%2023%20de%202020%20publicado%2024%20de%20julio
%20de%202020.pdf
12 https://opencorporates.com/companies/pa/843515
13 https://www.tvn-2.com/nacionales/judicial/realizan-audiencia-peculado-caso-ciudad_1_2001350.html
14 https://www.prensa.com/judiciales/suspenden-audiencia-preliminar-en-caso-de-supuesto-peculado-en-ciudad-deportiva-de-david/
15
   https://www.eldiario.es/papeles-castellana/utilizaron-sociedades-barcenas-pujol-herencia_1_3963492.html
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